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                    IN THE UNITED STATES DISTRICT COURT
                                                                                  JAN 2 3 2019
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

KATHY BLAGG

vs.                         NO.

EATON CORPORATION, EATON HEALTH and WELFARE
ADMINISTRATIVE COMMMITTEE and
SEDGWICK CLAIMS MANAGEMENT SERVICES, INC.                            DEFENDANTS

                                   COMPLAINT

       COMES NOW Plaintiff, Kathy Blagg, by and through her attorney, Daniel

A. Webb, and for her complaint states:

                         PARTIES AND JURISDICTION

       1.    This is an action to recover benefits pursuant to section 502(a),

(e)(1) and (f) of the Employee Retirement Income Security Act of 1974 ("ERISA").

29 U.S.C. § 1132(a), (e)(1) and (f).

       2.     This Court has federal question subject matter jurisdiction and

personal jurisdiction over the parties and is the proper venue pursuant to 28

U.S.C. § 1391(b).

       3.     Plaintiff, Kathy Blagg, is a resident of White County, Arkansas.

Kathy Blagg ("Blagg") participated in employer provided insurance plans for long

term disability benefits. (the "Plan") while employed by Eaton Corporation. (See

LTD Plan attached as exhibit A).

       4.     The Plan is self-insured with Eaton Corporation ("Eaton") serving as

Employer and Plan Sponsor. Eaton is a fiduciary under the Plan and a party in

interest. Eaton is a foreign corporation and upon information and belief may be


                                           This case assigned to District Judge   B'a..ke.r
                                           and to Magistrate Judge    Ha. rr~-5
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served in Arkansas at the C T Corporation System, 124 W. Capitol Ave, Ste.

1900, Little Rock, Arkansas, 72201.

         5.   Eaton Health and Welfare Administrative Committee serves on

behalf of Eaton as the Plan Administrator (the "Committee"). To the extent that

the Committee is a stand-alone entity capable of legal action separate from

Eaton it is a party in interest and may served with legal process at 1000 Eaton

Boulevard, Cleveland, OH 44122.

      6.      Sedgwick Claims Management Services, Inc. ("Sedgwick") is the

Claims Administrator for Eaton and a party in interest.    Sedgwick is a foreign

corporation and may be served with legal process at the Corporation Service

Company, 300 Spring Building, Ste. 900, 300 S. Spring Street, Little Rock, AR

72201.

         7.   At all times relevant hereto each Defendant was doing business

throughout the United States and within the Eastern District of Arkansas.

                                      FACTS

         8.   While employed by Eaton, Blagg participated in the Plan. While a

Plan participant, Blagg developed LS radiculopathy, SI joint dysfunction, lumbar

spondylosis, degenerative spondylosis of the cervical spine, IP joint synovitis

degenerative disk disease and other serious musculoskeletal problems. Blagg's

conditions, especially as relate to her spine, have rendered her totally and

permanently disabled, and she suffers from severe physical limitations such that

she is unable to perform even sedentary work on a sustained basis. Initially, the

Defendants paid benefits to Blagg, but on or about August 5, 2016; despite
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Blagg's severe medical problems, the Defendants, without legal justification,

stopped paying benefits to Blagg and refuse to pay Blagg the long-term disability

benefits owed.

       9.        Blagg has complied with all conditions precedent to entitle her to

benefits under the Plan, and she received a final denial from the Plan

Administrator on or about February 1, 2018.          (See denial letter attached as

exhibit B)

       10.       Blagg was approved for Social Security disability with an onset date

of October 2014, and an offset for benefits payable by the Plan may be

applicable. (See Award letter attached Exhibit C)

       11.       Eaton is the sponsor of the Plan and one of the fiduciaries

responsible for approving or denying claims and paying them if approved.

Accordingly, Defendant, Eaton, maintains a conflict of interest in the present

situation.

       12.       Blagg has been forced to retain the services of counsel in order to

bring this action, and the Defendants are obligated to pay attorney fees in

addition to the unpaid benefits owed Blagg with pre and post judgment interest.

       WHEREFORE, Plaintiff prays for an order awarding her: back benefits,

current benefits and future benefits pursuant to the Plan, pre-judgment interest,

post judgment interest, attorney's fees, costs and all other appropriate and

proper relief.
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                        Respectfully submitted,
                                         /~




                          ANIEL A. WEBB, Ark. Bar No. 2000113
                        111 Center Street, Ste. 1200
                        Little Rock, Arkansas 72201
                        (501) 372-2400
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                                   Summary Plan Description
Eaton Benefits. com                Effective January 1, 2016


                                                                   EXHIBIT

                                                                     A



Health and Insurance Benefits

Summary Plan Description for
Eaton Employees




     Powering Business Worldwide
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Eaton Summary Plan Description



EATON EMPLOYEE BENEFIT PLANS OVERVIEW
              This Summary Plan Description (SPD) summarizes the main features of the Eaton health care and
              insurance benefit plans effective January 1, 2016. The front section has information about who is covered
              in the Plans and when coverage begins and ends, including:
              •    Eligibility for yourself and your dependents
              •    How to enroll in the Plans
              •    Making certain changes during the year
              •    What,happens while·you· are-away from work on a leave of absence
              •    When your coverage begins and ends
              •    How to continue coverage.under COBRA
              The middle sections provide detailed information about each benefit plan:
              •    Medical .,(includi,:ig prescription drug)
              •    Dental
              •    Vision
              •    Reimbursement Accounts (dental/vision and dependent care)
              •    Work/Life Solutions,and AdoptiomBenefits
              •    Life and Accidental Death.& 'Dismemberment (AD&D}
              •    Short Term Disability
              •    Long Temi Disability
              The back section, Plan Administration, gives you details about how the Company administers the Plans,
              including coordination-of benefits, claims appeals procedures and your ERISA rights.
              If you have any questions aboutyour benefits, you can:
              •     Contact the.:claims administrator for the specific benefit plan (see the Plan Administration section)
              •     Contact the 'Eaton Service Center at Fidelity



                  The intent of this booklet is to satisfy the Employee Retirement Income Security Act of 1974 (ERISA)
                  requirement for a Summary Plan Description (SPD). The entire Plan and applicable group policies, not
                  only this SPD, will bedeterminative in all matters pertaining to rights and obligations with respect to
                  each Plan.
                  The information jn this booklet has been provided by Eaton and is the sole responsibility of Eaton.
                  Eaton Corporaliomis sometimes referred to as "Eaton" or the "Company" in this booklet.
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Eaton Summary Plan Description



THE EATON SERVICE CENTER AT FIDELITY
              Eaton, as Plan Sponsor, has retained the services of Fidelity Employer Services Company, a division of
              Fidelity Investments Institutional Services Company, Inc., an independent contractor, to assist the Plan
              Administrator with certain administrative functions (other than claims administration) in connection with the
              Eaton Corporation Flexible Benefits Program. Fidelity Employer Services Company performs these
              services under the name "Eaton Service Center at Fidelity."
              General information about your benefits is available by accessing the Fidelity web site or by calling
              the Eaton Service Center at Fidelity. The web site is generally available 24 hours a day, seven days a
              week. Phone service representatives are available weekdays, excluding holidays, from 8:30 a.m. to
              midnight, Eastern Time.

Contacting the Eaton Service Center at Fidelity
              There are two ways to contact the Eaton Service Center at Fidelity:
              1. By Computer: Fidelity Web Site
              You can access Fidelity's web site on the Internet.
              •    Go to:        EatonBenefits.com or the EatonBenefits.com link on JOE
              •    Click on:     Eaton Service Center at Fidelity in the left margin
              •     Enter:       Your Username (which is your Social Security number [SSN] or Customer ID number)
                                 and your Password
              2. By Toll-free Telephone
              You can call the Eaton Service Center at Fidelity at 1-866-EATON01 (1-866-328-6601) to speak with an
              Eaton phone service representative. Trained service representatives are available to answer your
              questions Monday through Friday (excluding holidays recognized by the New York Stock Exchange)
              from 8:30 a.m. to midnight, Eastern Time.

                  Special Needs
                  If you need language interpretation with immediate over-the-phone assistance, contact the Eaton
                  Service Center at Fidelity and ask for Language Line translation. A service representative will
                  conference in a translator to assist you with your call.
                  If you need to contact the Eaton Service Center at Fidelity from outside the United States or Canada,
                  log on to AT&T Direct (www.att.com/traveler) to look up the country access code or download a free
                  wallet card with access codes. You can also get the code by contacting an AT&T operator. When
                  calling from outside the U.S., use this access code first and then dial 1-866-328-6601.
                  To call with the assistance of TDD service for the hearing or speech impaired, dial 1-888-343-0860.



Your Password

              You use your password to access personal information via Fidelity's web site or by telephone. Be sure to
              remember your password. If you need a new password, contact the Eaton Service Center at Fidelity to
              establish a new one. Confirmation of the new password will be sent to your home address in
              approximately three business days. If you receive a password confirmation that you did not authorize,
              contact the Eaton Service Center at Fidelity immediately.




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Eaton Summary Plan Description                                                                                                                  Who's Covered and When



WHO'S COVERED·ANDWHEN
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Eaton Summary Plan Description                                                                           Who's Covered and When



WHO IS ELIGIBLE FOR COVERAGE

Coverage for Yourself
             You are eligible for the benefits plans described in this SPD if you are:
              •    A regular salaried or non-represented hourly employee of the Company or an affiliate in the United
                   States, and
              •    Regularly scheduled to work 20 or more hours per week.
              If your employment is covered by a collective bargaining agreement, you are eligible for these benefit
              plans only if your collective bargaining agreement provides for it. Specific eligibility requirements and
              benefit terms may be stipulated by your bargaining agreement and are explained in the appropriate
              benefit sections.
              Leased and temporary employees are not eligible for coverage.

Coverage for Your Spouse/Domestic Partner
              Your spouse/domestic partner is eligible for the Eaton Medical, Dental, Vision, Work/Life Solutions, and
              Life and AD&D Plans provided he or she is:
              •    Your spouse by a legally valid marriage (same or opposite sex).
              •    Your domestic partner (same or opposite sex) who:
                         is at least 18 years of age;
                         is not related to you;
                         has lived with you for at least six consecutive months;
                         you share an intimate, committed relationship with and intend for the relationship to last
                         indefinitely;
                         you are in an exclusive relationship with and neither of you is legally married to or in a domestic
                         partnership with anyone else; and
                         shares documented joint financial responsibility with you.
                   For Life and AD&D. To insure your domestic partner under the Supplemental Life and AD&D Plan,
                   the insurer also requires that you and your domestic partner have a mutually dependent relationship
                   so that each has an insurable interest in the life of the other. Your domestic partner must satisfy the
                   description above, or as an alternative, be registered as your domestic partner, civil union partner or
                   reciprocal beneficiary with a government agency where such registration is available.
              Contributions for domestic partner coverage may have different tax consequences.

Coverage for Your Children
              Medical, Dental, Vision and Work/Life Solutions Plans. Each of your children is eligible for the Medical,
              Dental and Vision Plans until the end of the year in which the child reaches age 26 provided:
              •    The child is your or your spouse's natural or adopted child,
              •    The child is a child for whom you (the employee) have legal guardianship or a similar court order that
                   confers authority and the corresponding duty to care for the person and property of the child under
                   applicable law, or
              •    You can claim the child as an exemption within the meaning of the U.S. Internal Revenue Code on
                   your federal income tax return for the year of coverage and the child is:
                         your domestic partner's natural or adopted child, or
                         a child for whom your spouse or domestic partner has legal guardianship or a similar
                         court order that confers authority and the corresponding duty to care for the person and
                         property of the child under applicable law.




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Eaton Summary Plan Description                                                                           Who's Covered and When



              Exceptions for Tobacco Cessation Program and On-site Health Center
              To participate in the Tobacco Cessation Program, a dependent must be at least age 18. To access the
              Health Center.a dependent must be at least age 2 and enrolled in an Eaton Medical Plan.
              Life and AD&r> Plan. The eligibility requirements for covering a child in the Life and AD&D Plan are
              somewhat different. To start, a child can be covered from 15 days of age (or birth for AD&D coverage)
              until the end of the calendar year in which he or she reaches age 25. He or she must be unmarried. Your
              eligible children are then:

              •    Each of yotir.children by birth or legal adoption, including full-time students who do not live with you;

              •                  ,,,
                   Each of your.spquse's or domestic partner's children by birth or legal adoption provided:
                         the child's legal residence is with you, and
                         the child is a member of your household,
              •    Each child for'whomyou (the employee) are the legally appointed guardian provided the child's legal
                   residence is with you.
              To provide Life and AD&D Plan coverage, you must be able to validly claim any child listed above as an
              exemption, witt)in"lhe meaning of the U.S. Internal Revenue Code, on your federal income tax return for
              the year of coverage. If you can't, he or she is eligible for Life and AD&D Plan coverage if you are required
              under your divorce decree or similar court order to provide medical coverage for the child. Such a child is
              also eligible for coverage if:
              •    Your former spouse can validly claim the child as an exemption on his or her federal income tax
                   return fo~the year of coverage,
              •    You and your former spouse provide more than one-half of the child's support for the calendar
                   year, and ·
              •    The child is in your custody, or in the custody of your former spouse, for more t~an one-half of the
                   calendar year.
              States set their own insurance laws, and certain states have an expanded definition of a child for Life
              insurance and AD&D insurance purposes. That means that certain states let you provide insurance for
              children who may not qualify as your dependents under the Internal Revenue Code (IRC).

Coverage for a Disabled Child
              A totally and permanently disabled child described in the bulleted sections above who is totally and
              permanently disabled before his or her coverage would otherwise end because of age may qualify for
              continued coverage. To qualify, the disabled child must be unable to engage in any substantial gainful
              activity due to a medically determinable physical or mental condition that can be expected to result in
              death or to be of long, continued or indefinite duration. In addition, the child must be eligible to be claimed
              as an exemption, within the meaning of the U.S. Internal Revenue Code, on your federal income tax
              return for the year of coverage.
              You must submit evidence of your child's total and permanent disability to the Claims Administrator within
              31 days of the date the child's coverage would otherwise end. You must provide proof of the child's
              continuing disability as requested. If you disagree with a determination that a child is not totally and
              permanently disabled, you can file an appeal under the claims appeal process.

Proof of Dependent Eligibility
              When you enroll a dependent in a Plan, you are representing to the Claims Administrator that the
              dependent meets the eligibility requirements for the Plan.
              From time to time, the Plan Administrator may ask you to verify the eligibility of a dependent. You may
              need to provide his or her Social Security number and other documents. Other documents may include,
              but are not limited to, a marriage license, birth certificate and copies of federal tax returns. For example, a
              child's eligibility for coverage in any year may be based on whether you have validly claimed the child as
              an exemption on your most recent federal income tax return and your certification that you are able to do
              so for the current year.
              You will be given a reasonable amount of time to submit the requested information and documents. If you
              do not do so, coverage for the dependent will end.


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Eaton Summary Plan Description                                                                       Who's Covered and When



Qualified Medical Child Support Orders (QMCSO) and National Medical Support Notices
             An employee's child who does not meet all the eligibility requirements for Plan coverage may be
             "assigned" the right to receive benefits by a qualified medical child support order (QMCSO). These orders
             are issued based on state domestic relations laws. The order may be issued by a court of competent
             jurisdiction or through an administrative process established by state law that has the force and effect of
             law. You will be notified when a support order is served on the Plan Administrator. Within a reasonable
             period of time you will then be informed if it a QMCSO.
              State child support enforcement agencies are required to enforce health care coverage provisions in child
              support orders through the use of the National Medical Support Notice (NMSN). When completed
              properly, the NMSN is deemed to be a QMCSO.
             You may request a copy of the Plan's QMCSO procedures without charge by contacting QDRO
             Consultants Company at 1-800-527-8481 and identifying yourself as an Eaton employee.


ENROLLING FOR COVERAGE
              Eaton provides you with an enrollment worksheet when you are first eligible to participate in the Eaton
              Flexible Benefits Program and before each annual enrollment. The personalized worksheet explains how
              to enroll and shows your:
              •    Plan options,
             •     Employee costs or credits, and
              •    Default coverage: the benefits and coverage levels Eaton assigns you if you don't actively make
                   enrollment decisions.
              You can enroll over the phone or online through the Eaton Service Center at Fidelity. Enrollment
              periods are:
              •    Within 60 days of your date of hire,
              •    Within 60 days of the date you transfer to an eligible employee status, and
              •    During the annual enrollment period each fall.
              When you first enroll, your enrollment choices - including default elections - authorize the Company to
              take payroll deductions to pay the employee cost of your Plan options and coverage levels for the rest of
              the year. (The "year" is the Plan year, which is the same as the calendar year.) During annual enrollment,
              your elections authorize payroll deductions for the coming year.




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Eaton Summary Plan Description                                                                           Who's Covered and When



Your Benefit Options
              When you enroll, you choose from the following benefits:

     Plan Options                          Description                                                 Paying for
                                      I
                                     ,·             ..                                            I    Coverage
 Health Care Plans                                                                                          ·. '=;'

 Medical                                  Coverage levels (you can choose a different level
                                                                                                      You and Eaton
                                          for each plan):
 •     Consumer Health 90                                                                             share the cost of
       with HSA                           • Employee only                                             coverage in the
 •     Consumer Health 80                 • Employee and spouse/domestic partner                      Medical, Dental and
       with HSA                                                                                       Vision Plans. You
                                          • Employee and child(ren)                                   pay your share with
 •     No coverage                        • Employee and spouse/domestic partner and                  before-tax dollars,
 Dental                                        child(ren)
                                                                                                      except you may pay
 •     Dental Plan                                                                                    after-tax for
                                                                                                      domestic partner
 •     No coverage
                                          You and your eligible dependents must be in the             coverage if he or
 Vision                                   same medical option.                                        she is not your
 •     Vision Plan                                                                                    dependent for tax
                                                                                                      purposes.
 •     No coverage
  Reimbursement Accounts
 •     DentalNision                       For eligible dental and      Contribute between
       Reimbursement Account              vision expenses              $10 - $208 per month           You contribute
       (DVRA)                                                          ($120 - $2,496 per year)       before-tax dollars to
 •     No coverage                                                                                    a reimbursement
                                                                                                      account to pay
                                                                                                      eligible expenses
 •     Dependent Care                     For eligible child and       Contribute between             that come up during
       Reimbursement Account              elder care expenses          $10 - $416 per month           the year. Use-it-or-
       (DCRA)                                                          ($120 - $4,992 per year)       lose-it rule applies.
 •     No coverage




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Eaton Summary Plan Description                                                                          Who's Covered and When




     Plan Options                     I Description                                             I    Paying for
                                                                                                     Coverage
                                                                                                                      ;
                                                                                                          ., -   -~
 Life and Accidental Death and Dismemberment (AD&D) Insurance
 Life Insurance                        You can choose other life insurance amounts:
 Eaton pays for coverage               •   Additional coverage equal to 2 to 8 times your
                                                                                                    Eaton pays the cost
 equal to one times annual                 annual pay level with rates based on age and, if
                                                                                                    of basic life and
 base pay {minimum of                      you have AD&D coverage of two times annual
                                                                                                    AD&D coverage as
 $25,000).                                 base pay, tobacco user status ($10 million
                                                                                                    noted. Premiums
                                           maximum)
 AD&D Insurance                                                                                     for coverage of
                                       •   25%, 50% or 75% of annual base pay and receive           more than $50,000
 Eaton pays for coverage                   a credit toward other benefits
 equal to:                                                                                          are reported as
                                                                                                    imputed income.
 •     One times annual base
       pay for certain collectively    You can choose other AD&D amounts:
       bargained employees             •   Additional coverage equal to 2 to 8 times your           You pay for
                                           annual pay level ($10 million maximum)                   additional coverage
 •     Two times annual base
                                       •   One level less than Eaton provides or no coverage        with before-tax
       pay for other employees.
                                           and receive a credit toward other benefits               dollars.
 See page 110 to confirm
 coverage.
 Spouse/Domestic Partner               You can choose coverage for your spouse/domestic             You pay with
 Life and AD&D                         partner:                                                     before-tax dollars
                                       •    Flat dollar amounts of $50,000 I $100,000 I             for:
                                            $150,000 I $200,000 I $250,000                          •    Spouse AD&D
                                       •    No coverage                                             •    ChildAD&D


  Child Life and AD&D                  You can choose coverage for your eligible children:
                                       •   Flat dollar amounts of $10,000 I $15,000 I $20,000       You pay with after-
                                           I $25,000                                                tax dollars for:
                                       •   No coverage                                              •    Spouse/domestic
                                                                                                         partner life
                                                                                                         insurance
                                       Your cost is the same regardless of how many eligible
                                                                                                    •    Child life
                                       children you have.
                                                                                                         insurance
                                                                                                    •    Domestic
                                                                                                         partner AD&D


                                                                                                    Taxation of child
                                                                                                    AD&D coverage
                                                                                                    varies by state. See
                                                                                                    Paying for Child
                                                                                                    AD&D Insurance.
  Disability Coverage
  Long Term Disability Plan            You can choose additional coverage:                          Eaton pays the cost
  Eaton pays for Option 1 -            •   Option 2 -   60% of monthly base pay                     of Option 1
  coverage of 50% of your                                                                           coverage. You pay
                                       •   Option 3 -   70% of monthly base pay
  monthly base pay.                                                                                 for additional
                                                                                                    coverage with
                                                                                                    before-tax dollars.
  Certain collectively
  bargained employees have
  other arrangements. See                                                                           Long term disability
  page 135 to confirm                                                                               benefits you receive
  eligibility.                                                                                      from the Plan are
                                                                                                    taxable income.




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Eaton Summary Plan Description                                                                            Who's Covered and When



If You Do Not Enroll
              As a newly eligible employee, if you do not enroll within the 60-day timeframe for new employees, you
              will be assigned the following coverage only:

                  Plan                                I    Default Coverage
              Medical                                     Consumer Health 90 for you only
              Long Term Disability                        Option 1: 50% of monthly base pay
              Employee Life                               One times annual base pay
                                                          One times annual base pay for certain production employees
              Employee AD&D                               represented by a collective bargaining agent
                                                          Two times annual base pay for other employees


              The employee contribution for the Consumer Health 90 medical plan option will be deducted from your
              paycheck. If you do not want Eaton medical coverage, you must elect Medical - No Coverage when
              you enroll. In that case, you will have no medical or prescription drug coverage under the Eaton plan;
              you are certifying you have medical coverage elsewhere - for example, through a health care program
              maintained by your spouse's employer.
              During the annual enrollment period, if you do not enroll, Eaton assigns you the same Plan options and
              coverage levels you have in place at the end of the year for the next year. Payroll deductions for your Plan
              options and coverage levels will continue for the coming year. If your option is not available for the next
              year, you will be assigned the default coverage shown on your enrollment worksheet.

Benefit Plans You Do Not Enroll In
              You do not enroll in some benefit plans because Eaton pays the full cost of coverage. If you are eligible,
              you automatically participate in the:
              •     Short Term Disability Plan
              •     Work/Life Solutions Plan

Couples Who Are Both Eligible for Eaton Benefits
              You and your spouse/domestic partner may both be eligible to enroll in Eaton-sponsored benefit plans.
              For example, you may both be active employees of Eaton or a participating subsidiary, or one may be
              a retiree.
              In this case, you have the following Medical, Dental and Vision Plan enrollment options:
              •     You and your spouse/domestic partner may each elect coverage under your own plan. Each of you
                    may cover different eligible children, or one of you may cover all of the children. In this option, neither
                    of you may be covered as a spouse/domestic partner; or
              •     One of you may enroll as the employee and the other as the spouse/domestic partner along with any
                    eligible children. All members of the family must be in the same Medical Plan option.
              You may provide spouse/domestic partner Life and AD&D insurance for each other in addition to any
              employee life insurance you have through Eaton. Both of you may elect life and AD&D insurance for your
              eligible children.

When Your Youngest Child Reaches Age 25
              Children are eligible for Child Life Insurance and Child AD&D Insurance until their 25 th birthdays. If you
              have been purchasing insurance for your child(ren), you should elect the "No Coverage" option during
              annual enrollment in the fall of the year your youngest child reaches age 25. It is your responsibility to stop
              coverage when your youngest child reaches age 25; coverage does not end automatically.
              For example, if your youngest child turns age 25 on June 23, 2014, you must elect "No Coverage" during
              the annual election period for 2015 Child Life and AD&D benefits.
              Note that medical, dental, vision and Work/Life Solutions coverage is available until the end of the year in
              which your child reaches age 26.


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Benefit Contributions, Social Security and Taxes
              Effective Date of Payroll Deductions. Increases or decreases in payroll deductions resulting from an
              enrollment or mid-year change in Plan coverage will go into effect as soon as administratively possible.
              Retroactive deductions will not be taken and retroactive refunds will not be made.
              Impact on Social Security Benefits. You generally do not pay Social Security taxes on the before-tax
              contributions you make for coverage in the Flexible Benefits Program. This means your Social Security
              benefits at retirement or during a period of disability may be slightly less if:
              •    You earn less than the Social Security wage base, or
              •    Your before-tax deductions reduce your taxable wages below the Social Security wage base.
              If your taxable wages are more than the Social Security wage base, your Social Security benefits are
              not affected.
              In most circumstances, your before-tax deductions for coverage do not affect other Eaton benefit plans
              such as life insurance, disability, savings plan and pension.
              Impact on Taxes.
              Before-tax Contributions
              The Eaton Corporation Flexible Benefits Program is a cafeteria plan under Section 125 of the Internal
              Revenue Code. Employee contributions are deducted from your paycheck on a before-tax basis as
              permitted under current federal tax law. Certain state and local taxes may apply.
              Credits in the Flexible Benefit Program
              Some employee life insurance and AD&D options provide less coverage than the Company-paid
              insurance amounts. If you choose one of these options, you receive a credit toward other benefits in the
              Flexible Benefits Program. If you do not use the credits, they are included in your regular paycheck as
              taxable income. Unused credits are not payable during any period you do not receive a paycheck but are
              still eligible for benefits.
              Paying for Domestic Partner Coverage
              If you cannot validly claim your domestic partner as an exemption within the meaning of the U.S. Internal
              Revenue Code on your federal income tax return, your contributions for coverage of your domestic partner
              are deducted from your paycheck on an after-tax basis. The monetary value of your partner's benefit
              coverage, less your after-tax contributions, is considered taxable income to you.
              Paying for Child AD&D Insurance
              States set their own insurance laws, and certain states have an expanded definition of a child for Life
              insurance and AD&D insurance purposes. As a result, certain states let you provide insurance for children
              who may not qualify as your dependents under the Internal Revenue Code (IRC). If you live in one of
              these states and choose child AD&D coverage, you must pay for coverage on an after-tax basis if you are
              covering more than one child and any one of them is not your IRC dependent.
              Contributions for child AD&D coverage are automatically taken from your pay on a before-tax basis. If any
              child you are covering does not qualify as an IRC dependent, you must contact the Eaton Service Center
              at Fidelity to request that your contributions for child AD&D coverage be made on an after-tax basis. If the
              contribution is not handled correctly, there may be tax consequences.
              If the dependent status of your children changes during annual enrollment or because of a mid-year change
              in family status and all of the children meet the definition of an IRC dependent, contact the Eaton Service
              Center at Fidelity again to request that your contribution for child AD&D coverage be switched back to a
              before-tax basis.




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WHEN COVERAGE ST ARTS
              When you are newly eligible, your benefit plan coverage generally starts on the later of:
              •     Your date of employment,
              •     The date you transfer to eligible status, or
              •     The effective date of coverage for newly participating locations of Eaton or U.S. subsidiaries.
              Dependent coverage generally starts on the date you become eligible. However, if a dependent -
              other than a newborn child 15 days of age or older - is in the hospital or similar facility for medical
              care or treatment on that date, his or her life and AD&D coverage will not begin until he or she is
              released. Your initial benefit choices typically stay in effect until the end of the year.
              The benefit choices you make during annual enrollment typically start on the next January 1 and stay in
              effect for the year.
              Exceptions to these start dates are:
              •      If evidence of good health is required for increased coverage, the higher coverage does not become
                     effective until the evidence of good health is submitted and approved.
              •      For short term disability, long term disability and life and AD&D coverage for yourself, you must be
                     actively at work on the date your coverage is due to begin, or else coverage - including any
                     elections made during annual enrollment - does not start until the day you return to active work.
              •      For short-term disability, any initial employment periods specified for production employees
                     represented by a collective bargaining agent take precedence.
              Under certain circumstances, you can change your coverage option during the year if you have a qualified
              change in status or other event. See "Changing Your Election during the Year" for more information.

                  Actively at Work
                  "Actively at work" or "active work" means the performance of duties as required or assigned by the
                  Company.
                  You are considered to be actively at work for purposes of the Plan if you are on paid vacation or
                  Company holiday on your initial effective date.




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CHANGING YOUR COVERAGE DURING THE YEAR
              Internal Revenue Service (IRS) and Plan rules restrict the benefit plan changes you can make during the
              year. You may, though, be allowed to change your coverage during the year if certain events occur. These
              events are called "change in status events," and the related IRS and Plan rules are extensive. The
              following is a brief summary.
              You can change your benefit plan elections for any reason during the next annual enrollment period, and
              the change will be effective at the start of the next calendar year.

Change in Status Events
              You may be allowed to change your benefit plan coverage if you experience a change in status event that
              follows IRS and Plan rules. Your benefit changes must be consistent with the event, as determined by the
              Plan Administrator. For example, if you get married you can cancel your medical coverage only if your
              spouse is adding you under his or her medical plan.
              You must notify the Eaton Service Center at Fidelity of the change in status event and make allowable
              benefit changes within 31 days (unless noted otherwise) after the date of the event. otherwise, you will
              need to wait until the annual enrollment period to make the change.
              Change in status events include the following, which may affect your participation in some or all of
              the Plans:
              •    Change in your legal marital status;
              •    Change in the number of your eligible dependents;
              •    Change in employment status for you, your spouse, your domestic partner or your dependent child;
              •    Your child or domestic partner satisfies (or no longer satisfies) dependent eligibility requirements;
              •    The start or end of adoption proceedings;
              •    Change in the permanent residence of your dependents from a !oreign location to the U.S.; and
              •     For medical coverage, your, your spouse's/domestic partner's or your child's enrollment in a Health
                    Insurance Marketplace medical plan due to a special enrollment or annual open enrollment period for
                    the Marketplace plan.
              Plus, you may be able to change your Dependent Care Reimbursement Account (DCRA) election for the
              following events:
              •     A change in your dependent day care expenses, or
              •     A leave of absence or layoff.




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              Timing and Start Date for Dependent Eligibility Changes. When your change in status affects a
              dependent's eligibility for coverage, you may be able to add, remove or change coverage for you and your
              dependents, consistent with the event. The timeframes shown below apply. For medical coverage, you will
              also be able to change your medical option. Your change in coverage will start as shown below.

               Reason for Dependent                     Change in Coverage Starts                You Must Notify the
               Eligibility Change                       on the Date* ...                         Eaton Service Center at
                                                   I                                         I   Fidelity Within ...
              Dependent Gains Eligibility
              Legal guardian$hip or a                  The court order becomes
              similar arrangement that                 effective
              confers authority (and the
              corresponding duty) to care
              for the person and property of                                                     31 days
              the child under applicable law
              Regaining dep~hclent                     Your dependent again meets
              eligibility                              eligibility requirement
              Marriage           ..                    Of marriage
              Reaching domestic partner                The person has lived with you for
              eligibility                              six consecutive months                    60 days
              Medical, Dental and Vision               The dependent moves to the U.S.           31 days for LTD and Life and
              Plans: Change in pennanent                                                         AD&D Insurance
              residence from .outside the
              U.S. to inside·the U.S.
              Birth                                    Of birth
              Adoption or placement for                Child is placed in your residence         Six months
              adoption
              Dependent Loses Eligibility
              Divorce, annulment, legal                Of divorce, annulment, legal              31 days
              separation                               separation
              Death                                    Of death                                  31 days
              Covered child or domestic                Dependent no longer meets                 31 days
              partner no longer meets                  eligibility requirements
              eligibility requirements

             * Exceptions may apply for the start of Life and AD&D Insurance as well as LTD coverage for yourself.

              Employment Changes. If the change in status event that affects you, your spouse, your domestic partner
              or a dependent child relates to termination, start of employment or a change in work schedule, you may
              be able to change your coverage level and/or Plan options or enroll in benefits coverage to the extent the
              change is consistent with the event. Any allowable change starts as of the date of the applicable event if
              you notify the:Eaton Service Center at Fidelity and make your new election within 31 days of the event.




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Certain Other Events
              Certain other events may also occur that allow you to change your election in some or all Plans.
              For example:
              •    Taking a leave of absence under the Family and Medical Leave Act (FMLA) or because of qualifying
                   military service,
              •    Certain court orders (such as qualified medical child support orders),
              •    Entitlement (or loss of entitlement) to Medicare, or
              •    A significant change in your spouse's or your domestic partner's benefits coverage or cost under
                   another employer's plan.
              Any change to your election must be made with the Eaton Service Center at Fidelity within 31 days of the
              event and be consistent with the type of event you have experienced.

Special Enrollment Rights for Medical, Dental and Vision Coverage
              If you do not enroll yourself or your dependents (including your spouse/domestic partner) because you
              have other medical, dental or vision coverage, you may be able to enroll yourself or your dependents in
              the Plan if your other coverage ends or the employer stops contributing to your or your dependents' other
              coverage. For medical coverage, the Healthy Incentive program rules will still apply to you. You must
              contact the Eaton Service Center at Fidelity and make your enrollment election within 31 days of the
              date the other coverage ends or the employer stops contributing.
              In addition, if you gain a new dependent as a result of marriage, domestic partner eligibility, birth, adoption
              or placement for adoption, you may be able to enroll yourself and your dependents. You must request
              enrollment through the Eaton Service Center at Fidelity within 60 days after the marriage or the date of
              domestic partner eligibility, or within six months after the date of birth, adoption or placement for adoption.
              If coverage under Medicaid or a state Children's Health Insurance Program (CHIP) changes for you or
              a dependent, you may be able to change your medical plan enrollment election as indicated below:
              •    Enroll in Eaton medical coverage if coverage under Medicaid or a CHIP plan ends because of loss of
                   eligibility for you or a dependent.
              •    Enroll in Eaton medical coverage if you or your dependent becomes eligible for a premium
                   assistance subsidy under Medicaid or CHIP.

              •    Cancel Eaton medical coverage if you or a dependent becomes eligible for Medicaid.
              You must contact the Eaton Service Center at Fidelity to change your election within 60 days of the
              date of the change in eligibility for Medicaid or CHIP.




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BENEFITS COVERAGE WHILE YOU ARE NOT ACTIVELY AT WORK
              You can generally continue your Eaton benefit plan coverage while you are not actively at work on a
              Company-approved leave of absence by paying the required employee contribution for coverage. If you
              stop making the required contributions, your coverage ends at the end of the month for which the last
              required contribution was paid.
              Unless noted otherwise, ,short Term Disability Plan and Work/Life Solutions Plan coverage continues
              during an approved leave of absence. The cost of this coverage is paid by the Company.
              Because the reimbursement accounts operate under IRS provisions for a given tax year, the DentalNision
              Reimbursementf.ccount (DVRA) and Dependent Care Reimbursement Account (DCRA) have separate
              rules for contiriliinidfarticipation while not at work. Please see the next section for details.

Non-Occupational or Occupational
                          •;,
                                 Short Term, Long Term or Extended Disability Leave of Absence
              When a non-occupational or occupational illness, accidental injury or pregnancy prevents you from
              working, you may continue coverage under the Medical, Dental, Vision, Life and AD&D, and Long Term
              Disability Plans for the duration of your short term disability leave.
              You can extend coverage for an additional 12 months after your short term disability leave ends if you are
              receiving benefits .from the Long Term Disability Plan. This extension does not apply if you are receiving
              benefits from an Eaton pension plan, regardless of whether you are on a long term disability leave of
              absence or your Eaton employment has ended.
              To continue coverage, you are required to pay the employee contribution for coverage on:
              •    A before-tax basis if you are receiving disability benefits paid through the Eaton payroll system, or
              •    An after-tax basis if you are not receiving disability benefits paid through the Eaton payroll system.
                   You are not charged any employee contribution for Long Term Disability Plan coverage.

Company-Approved Leaves of Absence
              If you are on a Company-approved leave of absence, as listed below, you may continue your coverage
              under the Medical, Dental, Vision, Life and AD&D, and Long Term Disability Plans during your leave. To
              continue coverage, you are required to pay the employee contribution for coverage on:
              •     A before-tax basis if you are being paid through the Eaton payroll system, or
              •     An after-tax basis if you are on an unpaid leave. You are not charged the employee contribution for
                    Long Term Disability Plan coverage, except while on a MULA or VULA.
              Personal or Educational Leave. If you are granted an unpaid personal or educational leave of absence,
              you may continue your coverage for up to six consecutive months. For a paid leave, you may continue
              coverage for the duration of the leave.
              Family and Medical Leave Act (FMLA) Leave of Absence. If you have been employed by Eaton for at
              least 12 months and have worked a minimum of 1,250 hours within the last 12 months, the FMLA entitles
              you to 12 weeks of unpaid, job-protected leave each year. Leaves are allowed for family and medical
              reasons specified in the FMLA. See your Human Resources Department for information concerning the
              FMLA. You may continue your coverage for the duration of an FMLA leave.
              Military Reserve Leave of Absence. If you are granted a military reserve leave of absence, you may
              continue your coverage for the duration of your leave.
              Active Military Leave of Absence. If you are called to active military duty, your benefit plan coverage
              continues under the provisions of the Company military leave policy. The length of time you may continue
              coverage varies by military conflict.
              Mandatory Unpaid Leave of Absence (MULA) or Voluntary Unpaid Leave of Absence (VULA). If you
              are required or volunteer to take an unpaid leave of absence, you may continue coverage for the duration
              of your leave.




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Temporary Layoff
              If you are temporarily laid off, you may continue coverage under the Medical, Dental, Vision, Life and AD&D
              Plans for up to six consecutive months if you pay the required monthly employee contribution on an after-tax
              basis. Short Term Disability and Long Term Disability Plan coverage ends while you are on layoff.

              Note: If your employment is covered by a collective bargaining agreement, coverage under the Plan
              may be continued for a greater or lesser period of time than described above if a continuation period
              is specified by the collective bargaining agreement. Any continuation periods specified by a collective
              bargaining agreement take precedence over the applicable continuation provisions described here.


CONTINUING REIMBURSEMENT ACCOUNT PARTICIPATION WHILE NOT ACTIVELY AT WORK
              You may be able to continue participating in the DentalNision Reimbursement Account (DVRA) and/or
              Dependent Care Reimbursement Account (DCRA) Plans even if you are not actively at work. If you are
              not working due to any of the situations described below, your annual election amount does not change.
              Reimbursement account deposits are collected through one or more of the following methods:
              •    Deductions continue to be made from your paycheck;
              •    You are billed for your deposits; or
              •    After you return to work from an unpaid leave of absence, the amount deducted from the remainder of
                   the year's paychecks is increased so you will meet your annual election amount.
              You cannot be reimbursed for dependent care expenses you incur while you are not actively at work; for
              example, while you are on a leave of absence or layoff. Because this federal law affects DCRA
              reimbursements, you may make a mid-year change in your election amount.

Non-Occupational or Occupational Short Term, Long Term or Extended Disability Leave of Absence
              If you are on leave due to a non-occupational or occupational disability and receive disability benefits
              through the Eaton payroll system, your deductions for reimbursement account deposits continue to be
              made from your paychecks.
              If you are not receiving disability benefits through the Eaton payroll system:
              •    You are billed for DVRA contributions during any full calendar month in which you are on leave. (You
                   pay contributions for any partial month for which you are on leave through increased payroll
                   deductions when you return to work, as described below.) Your DVRA coverage continues until the
                   earlier of:
                         the end of the Plan year (calendar year), or
                         the end of the month before the first month for which you did not pay the monthly billed amount.
              •     If you return to work during the same calendar year, the amount deducted from the rest of your
                    paychecks for the year is increased so you will meet your annual election amount. DVRA
                    contributions paid through the monthly billing process are taken into account to determine your
                    increased deduction amount. The increased deduction starts in your paychecks as soon as
                    administratively possible after you return to work. See the example on page 93.
              •     You are not billed for Dependent Care Reimbursement Account contributions, and your Dependent
                    Care Reimbursement Account participation continues until the end of the calendar year.
              If you are still on a leave at the beginning of a year, you cannot participate in either of the reimbursement
              accounts until you return to work and elect to participate during the applicable enrollment period.




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Unpaid FMLA Leave of Absence
              If you are granted an unpaid FMLA leave of absence:
              •    You are billed for your DVRA contributions during any full calendar month in which you are on leave.
                   (You pay contributions for a partial month through increased payroll deductions when you return to
                   work, as described below.) Your DVRA coverage continues until the earlier of:
                         the end of the calendar year; or
                         the end of the sixth calendar month following the last day you were actively at work.
              •    You are not billed for Dependent Care Reimbursement Account contributions, and your Dependent
                   Care Reimbursement Account participation continues until the end of the calendar year.
              During your leave you are not required to pay the contributions to the DVRA, and if you do not, the
              amount deducted from your future paychecks will be increased to recoup the difference. The increased
              deduction starts in your paychecks as soon as administratively possible after you return to work. Contact
              the Plan Administrator to determine the amount of the increase and the length of time during which the
              increased premiums will be deducted.
              If you are still on a leave at the beginning of a year, you cannot participate in the Dependent Care
              Reimbursement Account until you return to work and elect to participate during the applicable
              enrollment period.

Other Unpaid Leave of Absence
              If you are granted an unpaid personal, educational, FMLA, active military or military reserve leave of
              absence, or a mandatory or voluntary unpaid leave of absence (MULA or VULA):
              •    You are billed for your DVRA contributions during any full calendar month in which you are on leave.
                   (You pay contributions for any partial month for which you are on leave through increased payroll
                   deductions when you return to work, as described below.) Your DVRA coverage continues until the
                   earlier of:
                         the end of the Plan year (calendar year);
                         the end of the sixth calendar month following the last day you were actively at work if you are on
                         personal, educational or military reserve leave;
                         the end of the contribution period if you are on active military leave (the length of the continuation
                         period varies by military conflict); or
                         the end of the month before the first month for which you do not pay the monthly billed amount.
              •     You are not billed for Dependent Care Reimbursement Account contributions, and your Dependent
                    Care Reimbursement Account participation continues until the end of the calendar year.
              If you return to work during the same calendar year, the amount deducted from the rest of your paychecks
              for the year is increased so you will meet your annual election amount. DVRA contributions paid through
              the monthly billing process are taken into account when determining the amount of the increased
              deduction. The increased deduction starts in your paychecks as soon as administratively possible after
              you return to work. See the example on page 93.
              If you are still on a leave at the beginning of a year, you cannot participate in either of the reimbursement
              accounts until you return to work and elect to participate during the applicable enrollment period.

Paid Leave of Absence
              Personal, Educational, FMLA or Military Reserve Leave of Absence. If you are granted a paid
              personal, educational, FMLA or military reserve leave of absence, your reimbursement account deposits
              continue to be deducted from your paycheck.
              Active Military Leave of Absence. If you are called to active military duty, your reimbursement
              account deposits continue to be deducted from your paycheck as long as you remain eligible to
              participate in the Plan. The length of time you may continue to participate in the reimbursement
              accounts varies by military conflict.




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Temporary Layoff
              If you are temporarily laid off:
              •    You are billed for your DVRA contributions during any full calendar month in which you are on layoff.
                   (You pay contributions for any partial month for which you are on leave through increased payroll
                   deductions when you return to work, as described below.) Your DVRA coverage continues until the
                   earlier of:
                         the end of the Plan year (calendar year),
                         the end of the sixth calendar month following the last day you were actively at work, or
                         the end of the month before the first month for which you did not pay the monthly billed amount.
              •    You are not billed for Dependent Care Reimbursement Account contributions, and your Dependent
                   Care Reimbursement Account participation continues until the end of the calendar year.
              If you return to work during the same calendar year, the amount deducted from the rest of your paychecks
              for the year is increased so you will meet your annual election amount. DVRA contributions paid through
              the monthly billing process are taken into account when determining the amount of the increased
              deduction. The increased deduction starts in your paychecks as soon as administratively possible after
              you return to work. See the example on page 93.
              If you are still on layoff at the beginning of a year, you cannot participate in either of the reimbursement
              accounts until you return to work and elect to participate during the applicable enrollment period.




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WHEN COVERAGE ENDS
When Your Employee Coverage Ends
              Unless you elect continuation coverage under COBRA, if eligible, your coverage under the Eaton health
              care and insurance Plans ends on the earliest of:
              •    The last day of the month in which your employment with Eaton ends,
              •    The last day of the month in which the period for which you are eligible to continue coverage while not
                   actively at work expires,
              •    The last day of the month in which you are eligible to continue coverage under the terms of an Eaton
                   severance plan or agreement,
              •    The date you transfer to a non-eligible employee status, or
              •    The date of your death. If you were an active employee when you died, your dependents may be able
                   to continue their coverage as explained below.
              Dependent Care Reimbursement Account. Your participation under the Dependent Care
              Reimbursement Account ends:
              •    At the end of the calendar year in which:
                         your employment with Eaton ends,
                         you transfer to a non-eligible employee status, or
                         you die.
              Short Term Disability Plan. Your short term disability plan coverage ends on the earliest of:
              •    Your last day of active work immediately before the date your employment with Eaton ends,
              •    Your last day of active work immediately before the date you are laid off from the Company,
              •    Your last day of active work immediately before your retirement date,
              •     Your last day on an approved period of leave if you do not you return to active work,
              •     Your last day of active work immediately before the date you transfer to a non-eligible employee
                    status, or
              •     The date of your death.
              Long Term Disability Plan. Your Long Term Disability Plan coverage ends on the earliest of the
              following dates:
              •     The date your employment with Eaton ends,
              •     The date you transfer to a non-eligible employee status,
              •     The date you go on temporary layoff,
              •     The last day of the month in which the period that you are eligible to continue coverage while not
                    actively at work expires, or
              •     The date of your death.

              For all Eaton Plans, if you stop making the required contributions for coverage, your coverage ends at
              the end of the month for which the last required contribution was paid. Your coverage under the Plans
              is subject to termination or amendment by the Company at any time for any reason.




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When Dependent Coverage Ends
              Unless continuation coverage is elected under COBRA (if eligible), your dependents' coverage under the
              Eaton benefit plans they are enrolled in ends on the earliest of the following dates:
              •    The date on which your coverage ends for a reason other than death;
              •    The last day of the 12th month following the month in which your death occurs (see below);
              •    The last day of the month for which you paid the required employee contribution for coverage;
              •    For your spouse, the date on which he or she is divorced or legally separated from you, or his or her
                   marriage to you is annulled; or
              •    For each covered dependent child or a domestic partner, the date when such child or domestic
                   partner no longer meets the definition of an eligible dependent.

Extended Dependent Coverage Period if You Die
              If you die while you are an active employee, your surviving spouse/domestic partner and your eligible
              dependent children (whether or not there is a surviving spouse/domestic partner) are eligible for an extended
              period of benefit coverage. By paying the applicable employee contribution for coverage, they can continue
              their coverage in the Medical, Dental, Vision and/or Life and AD&D Insurance Plans. Coverage can
              continue for up to 12 months following the end of the month in which you died. Covera~e for a dependent
              child ends during the 12-month period if he or she no longer meets the dependent eligibility requirements.
              If your surviving spouse/domestic partner marries any time after your death, the new spouse and his or
              her dependent children are not eligible to participate in the Plans.
              At the end of the 12-month extension period, if your surviving spouse/domestic partner and/or eligible
              dependent children are still enrolled, they may continue coverage through COBRA. They can continue
              coverage under COBRA for up to 36 consecutive calendar months following the end of the 12-month
              extension period.
              For the DVRA, your eligible dependents can continue coverage through the end of the calendar year if
              they pay the required monthly contributions.

Continuing Coverage
              If your or your dependents' coverage ends, you may be able to continue coverage in the group health
              plans through COBRA. The conversion and portability options in the Life and AD&D Insurance Plan allow
              you to continue coverage in an individual insurance policy unless your coverage ended because you did
              not pay your required contributions.

Certificate of Creditable Coverage
              If your Medical Plan coverage ends, you will receive a certificate of prior creditable coverage. The
              certificate shows evidence of your Eaton medical coverage that you can apply toward a preexisting
              condition exclusion under another medical plan. For the certificate to be valid, you have 63 days from the
              date your Eaton plan coverage ends to enroll in another plan. Contact your state insurance department for
              further information.
              If you elect COBRA continuation coverage, a second certificate is issued when it ends. Contact the Eaton
              Service Center at Fidelity for further information.




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Eaton Summary Plan Description                                                                         Who's Covered and When



CONTINUING COVERAGE THROUGH COBRA
              If you lose your eligibility for group health plan coverage for active employees, the Consolidated Omnibus
              Budget Reconciliation Act (COBRA) allows you to continue your coverage at your own expense in certain
              situations. In many cases, your covered spouse and dependent children (your qualified beneficiaries) are
              also eligible.
              The Plans that are group health plans and eligible for COBRA coverage are:
              •    Medical
              •    Dental
              •    Vision
              •    DentalNision Reimbursement Account (DVRA) portion of the Reimbursement Account Plans
              •    Counseling Program, Eaton On-site Health Center and the Tobacco Cessation Program of the
                   Work/Life Solutions Plan
              All references to Eaton group health coverage in this section refer to the Plans listed above.
              If you choose to continue coverage through COBRA, the Company must provide you the same coverage
              that similarly situated employees or family members receive. If Plan coverage changes for these similar
              beneficiaries, your coverage will also change.
              This notice generally explains COBRA continuation coverage, when it may become available to you and
              your family, and what you need to do to protect the right to receive it. The Company has retained the
              Eaton Service Center at Fidelity as its COBRA compliance administrator for its group health plans.
              Make sure the Eaton Service Center at Fidelity has the current addresses of your family members. You
              should also keep a copy, for your records, of any notices you send to the Eaton Service Center at Fidelity.

When You Become Eligible for COBRA (Qualifying Events)
              You, your spouse and/or dependent children who are covered by Eaton group health coverage may
              continue coverage through COBRA if you lose your coverage because of your:
              •     Reduced hours of employment.
              •     Loss of employment (except for gross misconduct on your part).
              Your covered spouse and dependent children may also be able to continue coverage through COBRA if
              they lose their coverage because you:
              •     Die.
              •     Get divorced or legally separated.
              •     Become entitled to Medicare (under Part A, Part B or both).
              In addition, your covered dependent child can continue coverage through COBRA if he or she would lose
              coverage because of no longer meeting the definition of an eligible dependent.
              A child born to, adopted by or placed for adoption with you during the period of COBRA coverage is also
              eligible for COBRA coverage.




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Starting with COBRA
              Notifying the Eaton Service Center at Fidelity. Depending on the event that causes you to lose
              eligibility, either you or Eaton is responsible for notifying the Eaton Service Center at Fidelity.

               Who Notifies the Eaton Service Center at Fidelity
              You, your covered spouse or covered                     Eaton, within 30 days of:
              dependents, within 60 days of:                          •   Reduction in hours of employment
              •   Divorce                                             •   Termination
              •   Legal separation                                    •   Death
              •   Child losing dependent status                       •   Medicare entitlement
              You may need to provide documentation of the
              above events.
              If you do not notify the Eaton Service Center at
              Fidelity within 60 days, your rights to continue
              coverage end.


              If you need help acting on behalf of a beneficiary who is deemed to be incompetent, contact the Eaton
              Service Center at Fidelity.
              After the Eaton Service Center at Fidelity has been notified, the Eaton Service Center at Fidelity will, in
              turn, notify you of your right to elect COBRA coverage.
              Enrolling for COBRA Coverage. Under the law, a qualified beneficiary has 60 days from either the date
              of loss of coverage or from the date of the notice, whichever is later, to choose COBRA coverage. If you
              do not choose COBRA coverage, your Eaton group health coverage ends.
              You can elect COBRA coverage on behalf of your spouse, and you or your spouse can elect COBRA
              coverage on behalf of your children. You do not have to show that you are insurable to choose
              COBRA coverage.
              DVRA
              If you elect to continue your DVRA and you want to use your Acclaris Visa card to pay for eligible
              expenses, you need to reactivate your card. Call the toll-free phone number on the card and enter the
              requested information.


              Alternatives to COBRA
              There may be other medical coverage options for you and your family through the Affordable Care Act's
              Health Insurance Marketplace. In the Marketplace, you could be eligible for a tax credit that lowers your
              monthly premiums right away. You can see what your premium, deductibles and out-of-pocket costs
              will be before you make a decision to enroll. Being eligible for COBRA does not limit your eligibility for
              coverage or a tax credit through the Marketplace.
              Additionally, you may qualify for a special enrollment opportunity with another group health plan for which
              you are eligible (such as a spouse's plan), even if the plan generally does not accept late enrollees, if you
              request enrollment within 30 days.




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How Long COBRA Coverage Lasts
              For eligible Plans except DVRA. You, your covered spouse and your covered children can continue
              COBRA coverage up to the time period shown below.

                  Qualifying Event         How Long COBRA Coverage Lasts



              You lose coverage           Employee
              because of:
              •     Reduced work
                    hours                 Spouse
              •     Employment ends
                    for any reason
                    other than gross      Children
                    misconduct

              You or your                 Employee
              dependent is disabled
              (as defined by Title II
              or XVI of the Social        Spouse
              Security Act) at any
              time during the first
              60 days of COBRA            Children
              coverage (see below)

              You die*, divorce or        Spouse (former spouse)
              become legally
              separated                   Children

              You become entitled         Spouse
              to Medicare, causing
              dependents to lose
              coverage                    Children

              Child no longer
              qualifies as a              Child
              dependent

            * If you die while actively at work, the COBRA continuation period for your spouse and dependent children
             begins on the last day of the 12-month period following the month of your death.
              COBRA coverage may continue past 18 months in certain situations.
              •      If you, your covered spouse or your dependent becomes disabled. COBRA coverage can continue for
                     up to an additional 11 months if Social Security determines the individual is disabled at any time
                     during the first 60 days of COBRA coverage. To receive the extension, the Eaton Service Center at
                     Fidelity must be notified within 60 days of the Social Security disability determination and before the
                     end of the original 18-month period. The extension will end if the disability ends during the 11-month
                     extension period. The Eaton Service Center at Fidelity must be notified within 30 days of any final
                     determination that the individual is no longer disabled.
              •      If there is more than one qualifying event. COBRA coverage for your spouse or child may extend to
                     36 months if a second event (death, divorce, legal separation, Medicare entitlement or a dependent
                     child no longer qualifies as a dependent under the Plan) occurs during the first 18-month period.
              For DVRA. If your eligibility ends because of a COBRA-qualifying event, you may continue to participate
              in the DVRA, but only until the end of the calendar year in which the COBRA event occurs. You contribute
              to the DVRA on an after-tax basis.




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LONG TERM DISABILITY PLAN OVERVIEW
              The Long Term Disability Plan provides a continued source of income if you are sick or injured and cannot
              work for an extended period of time. During the first 26 weeks of a covered disability, you may be covered
              by an Eaton Short Term Disability (STD) Plan. If you remain disabled after that time, you may receive a
              benefit from the Long Term Disability Plan.
              This chart shows the maximum monthly benefit provided by each long term disability option.

                   Month of Disability           I    Disability Benefit
                  Weeks 1 - 26: Short Term           The amount of your benefit and when it starts is determined by
                  Disability                         the STD plan that covers you
                  After 26 weeks until you are       The amount of income replaced depends on your LTD option in
                  no longer disabled or you          effect on the date your disability begins:
                  reach a specific age               •    Option 1: 50% of your monthly base pay
                                                     •    Option 2: 60% of your monthly base pay
                                                     •    Option 3: 70% of your monthly base pay


              The monthly LTD benefits you receive are coordinated with certain other benefits you may be eligible for
              (see "Amount of the Benefit You Receive - Reduction of Maximum Long Term Disability Benefit") so that
              50%, 60% or 70% of your monthly base pay is replaced.

Who Is Not Covered
              The Long Term Disability (LTD) Plan is not offered to all employees. You are not covered by the Long
              Term Disability Plan if you are a production employee represented by a collective bargaining agent at the
              following facilities:

              •      Bloomington, CA                                            •    Long Branch, NJ

              •      Ellisville, MO                                             •    Meadowlands, PA

              •      Fayetteville, AR                                           •    Syracuse, NY

              •      Hicksville, NY                                             •    Troy, IL

              •      Highland, IL

Long Term Disability Contributions
              For new hires, the monthly base pay used to calculate contributions and credits is your monthly base pay
              on the date of hire. For other eligible employees, the monthly base pay used to calculate contributions and
              credits is your monthly base pay as of August 1 preceding the Plan year for which the contributions or
              credits apply. Contributions and credits are subject to review and change by the Company at any time.




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Increasing or Decreasing Coverage
              Increasing Coverage by One Level. You may increase your long term disability coverage by one level,
              from Option 1 (50%) to Option 2 (60%), or from Option 2 (60%) to Option 3 (70%), without providing
              evidence of good health.
              You may increase your coverage by one level during the annual enrollment period held each fall. The
              increase will become effective at the start of the next year, provided you are actively at work (see
              page 11) on that day. If you are not actively at work, your increase in coverage becomes effective on the
              day you return to active work.
              You may also increase your coverage by one level if you experience a change in status event. You must
              request the increase within 31 days of a change in status event, and the increase will become effective on
              the date the approved change in status occurs. If you are not actively at work on that day, however, your
              increase in coverage becomes effective on the day you return to active work.
              Increasing Coverage by Two Levels - from Option 1 to Option 3. You may request to increase your
              long term disability coverage by two levels during the annual enrollment period held each fall or within
              31 days of a change in status event. To increase your coverage by two levels, you will need to provide, at
              your expense, a completed "Statement of Health" form providing evidence of your good health. The
              Company designates a third-party organization to review and approve all Statements of Health.
              If you fail to submit evidence of good health or if your evidence of good health is found to be
              unsatisfactory, the increase in your coverage is limited to Option 2 (60%).
              If you request a two-level increase during annual enrollment, you will receive a Statement of Health form
              with your enrollment confirmation statement. You must return the completed form before the date
              specified on the statement. The increase will become effective at the start of the next year provided:
              •    You are actively at work on that day, and
              •    The Company receives the necessary third-party approval of your evidence of your good health.
              If the approval has not been received by January 1, you will be covered under Option 2 (60%) from
              January 1 until the first day of the month following the date the Company receives approval of evidence of
              your good health. If you are not actively at work on that date, the increase to Option 3 (70%) will not
              become effective until the date you return to active work.
              If you request a two-level increase when you experience a change in status event, the Eaton Service
              Center at Fidelity will mail a Statement of Health form to you. You must return the completed form within
              31 days of the change in status event. You will be covered under Option 2 (60%) from the date the
              change in status event occurs. The change from Option 2 to Option 3 (70%) will become effective on the
              first of the month following the date the Company receives third-party approval of the evidence of your
              good health. If you are not actively at work on that date, the increase to Option 3 (70%) will not become
              effective until the date you return to active work.
              Decreasing Your Coverage. You may decrease your coverage by one or two levels, but you cannot
              waive coverage in Option 1 (50%).
              You may decrease your coverage option during the annual enrollment period, and the decrease will be
              effective at the start of the next year. If you decrease your coverage when you experience a change in
              status event, the decrease becomes effective on the date of the approved change in status event.




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Eaton Summary Plan Description                                                                               Long Terrn Disability Plan



DISABILITIES THE PLAN COVERS
             The Long Term Disability Plan provides you with continuing income if a covered disability prevents you
             from working for longer than 26 weeks.
              To be eligible for LTD benefits, you must be covered by the Plan and:
              •      Have a covered disability as defined below;
              •      Be under the continuous care of a licensed health care practitioner; and
              •      Sign and return a copy of the Overpayment Reimbursement Agreement provided by the Claims
                     Administrator. Benefit payments are suspended until the Claims Administrator receives this form.
              For a physical disability, the term "health care practitioner'' means a fully licensed Doctor of Medicine
              (M.D.), Doctor of Osteopathy (D.O.), Dental Surgery (D.D.S.), Doctor of Podiatry Medicine (D.P.M.),
              Doctor of Chiropractic (D.C.), Psychologist, Physician's Assistant (P.A.), Nurse Practitioner (N.P.) or
              Certified Nurse Midwife (C.N.M.).
              If mental illness or alcohol or chemical dependency keeps you from working, you must be receiving
              continuous care from a psychiatrist or licensed psychologist. For alcohol or chemical dependency, you
              must be receiving treatment in an accredited residential or outpatient substance abuse treatment
              facility. Your psychiatrist or licensed psychologist must verify your disability to the satisfaction of the
              Claims Administrator.

Covered Disability
              You are considered to have a covered disability (see "Disabilities the Plan Does Not Cover"
              below for exceptions) under the Plan if you are unable to work as the result of an occupational or
              non-occupational illness or injury. The work you are unable to do is defined differently over the course
              of a disability. You will be considered disabled:

                   If During ...                    I    Your Disability Makes You .. .                               ·
                  Months 1 - 23, including six          Totally and continuously unable to perform the essential duties
                  months of short term disability       of your regular position or any suitable alternative position with
                                                        the Company.
                  Month 24 until you are no             Totally and continuously unable to engage in any occupation or
                  longer disabled or retire             perform any work for compensation or profit for which you are,
                                                        or may become, reasonably well fit by reason of education,
                                                        training or experience - at Eaton or elsewhere.


              The Company, at its sole discretion, determines the availability and suitability of alternative positions
              at Eaton.

Disabilities the Plan Does Not Cover
              The Plan does not pay benefits if your disability is the result of:
              •      Attempted suicide or intentionally self-inflicted injury, while sane or insane;
              •      Participation in (or as a consequence of prior participation in) the commission of a felony;
              •      Any act of war, declared or undeclared; service in the armed forces of any country; or performing
                     police duties as a member of any military organization;
              •      Cosmetic procedures. However, the Plan will pay disability benefits related to reconstructive surgery
                     following a mastectomy; surgery the Medical Plan determines to be medically necessary to correct
                     damage caused by an accident, injury or congenital defect; or complications that prevent your return
                     to work within the normal recovery period for a cosmetic surgery procedure; or
              •      A preexisting condition, or related to a preexisting condition, if the disability starts within the 12-month
                     period after the date your long term disability coverage becomes effective.




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              Preexisting Condition Limitation
              You will not be covered under the Plan if, within 12 months of the initial effective date of your coverage,
              you become disabled due to a preexisting condition. A preexisting condition is any physical or mental
              condition, regardless of cause, for which medical advice, diagnosis, care or treatment was recommended
              or received within the six-month period immediately before your Long Term Disability Plan coverage
              became effective. This limitation does not apply to a period of disability resulting from an injury that
              occurs or a sickness that begins after your Long Term Disability Plan coverage becomes effective.
              If your employment with Eaton ends and you are rehired by Eaton, the preexisting condition limitation
              does not apply if:
                  •    You were previously covered under the Plan for at least 12 months, and
                  •    Your Plan coverage ended less than 12 months before your rehire date.



AMOUNT OF THE BENEFIT YOU RECEIVE

Maximum Monthly Long Term Disability Benefit
              The maximum monthly long term disability benefit the Plan pays you is based on:
              •       The long term disability option you elected and in effect on the date your disability starts; and
              •       Your monthly base pay on the day immediately before your disability starts.
              To calculate your long term disability benefit, the Plan uses monthly base pay rate, not including shift
              differential pay, overtime pay, bonuses or any other extra pay. Your base pay rate is not reduced by
              contributions or adjustments related to participation in the Eaton Corporation Flexible Benefits Program or
              any other Eaton program for which you have elected bt::fore-tax contributions.
              The Plan does not place a maximum on the monthly base pay it considers.

Benefits Are Taxable
              Long term disability benefits are taxable income. Eaton pays for all or a portion of the coverage, and any
              of your contributions to the cost of coverage are made with before-tax dollars.
              Current tax law treats your benefit payments as taxable income. Federal taxes are withheld from benefit
              payments. State taxes will be withheld at your request when you submit the applicable tax form.

Reduction of Maximum Long Term Disability Plan Benefit
              The 50%, 60% or 70% maximum benefit the Long Term Disability Plan pays for any period of disability is
              reduced by the total amount of certain other income for which you may be eligible. These sources of other
              income are any:
              •       Taxable wages (such as bonuses) payable by Eaton or any of its subsidiaries;
              •       Disability and/or retirement benefits for which you are eligible under the federal Social Security laws,
                      or under any other federal, state, county, municipal or other program either tax-supported or
                      sponsored by any government. The reduction for Social Security includes primary and auxiliary
                      benefit awards. Auxiliary benefits may be provided to your family members based upon your Social
                      Security benefit eligibility;
              •       Mandatory "no fault" automobile insurance work-loss payments; and
              •       Benefits for which you are eligible under Workers' Compensation, occupational disease or other
                      employer liability plan or plans.




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Eaton Summary Plan Description                                                                                Long Term Disability Plan




              Example
              This example assumes:
               •     Your monthly base pay is $2,500 when you become totally disabled.
               •     You are eligible for a Social Security disability benefit of $700 per month.
               •     You have no other income that would reduce your Long Term Disability Plan maximum benefit.
              If you are covered under Option 2 at 60%, your long term disability benefit is determined as follows:
                                  60% of $2,500                            $1,500 maximum monthly disability income
                                  Less Social Security benefit              - 700   Social Security benefit
                                                                           $ 800    Long Term Disability Plan payment
              The Long Term Disability Plan payment of $800 per month is subject to applicable taxes.


              Your Long Term Disability Plan maximum benefit is reduced by the amount of the Social Security benefit
              for which you and your dependents are eligible when your disability benefit begins. During the period you
              receive Long Term Disability Plan benefits, your Plan benefit is adjusted to reflect increases or decreases
              in the Social Security benefits you receive.
              If the Claims Administrator has not received documentation that substantiates your application for Social
              Security Disability benefits within 30 days of when your Long Term Disability Plan benefits start, the
              Claims Administrator will use an estimate to reduce your Plan benefit.

Minimum Monthly Long Term Disability Benefit
              The Plan pays a minimum monthly long term disability benefit· regardless of the income you receive
              from other sources. The minimum benefit is determined by the Plan option in effect ori the date your
              disability begins.

                              Plan Option In Effect                                 Minimum Monthly Payment
                             When Disability Begins                    I
                                     Option 1                                                     $50

                                     Option 2                                                     $60

                                     Option 3                                                     $70


              The minimum benefit may be used to recover long term disability benefits paid to you under the provisions
              of the "Rights of Restitution and Reimbursement and Subrogation" section.




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WHEN PAYMENTS BEGIN AND HOW LONG THEY CONTINUE
             Long term disability benefit payments begin on the day immediately following a six-month period during
             which you have been absent from work due to a covered disability. You must submit a claim to be
             considered for benefits (see "How to Obtain Benefits - Claims for Long Term Disability Benefits").
              Once your long term disability benefit payments start, they continue throughout your disability period until
              your recovery date or until the date shown in the chart below (subject to continuation of the Plan).

                 Your Age When Disability Begins                     Date Long Term Disability Benefits End
                                                                I
               60 or younger                                        Your 65th birthday
               61 through 69                                        After 5 years or your 70 th birthday, whichever comes
                                                                    first
               70 or older                                          After 1 year


              After you are first approved, you must periodically submit updated medical information regarding your
              continuing disability. See "How to Obtain Benefits - Medical Information" and "How to Obtain Benefits -
              Requirement to Update Medical Information" for more information.

Successive Periods of Disability
              The waiting period for the start of LTD benefits begins on the day you become disabled and
              continues for six months. During that time, you may be eligible for benefits under a Company short term
              disability program.
              If you return to work before LTD benefit payments begin. If you return to work for three months or less
              during the six-month LTD waiting period and you become disabled again, you do not have to start over to
              satisfy a new six-month waiting period. The days you were out on leave will count toward the six-month
              waiting period, but the days you were back at work will not. For this to be the case, your second period of
              disability must be from the same cause or a cause related to the first disability.
              The waiting period is handled differently if you return to work for longer than three months or you
              experience a disability from a second, unrelated cause. In that case, you are considered to have a new
              disabitity. The six-month waiting period starts again with the new disability.
              After LTD Benefits Payments Have Begun. If you return to work after receiving LTD benefits and you
              become disabled again - within three months following your return - the second period of disability is
              considered a continuation of the first. Long term disability benefits become payable as of the first day of
              your subsequent covered disability. For this to apply, your second period of disability must be from the
              same cause or a cause related to the first disability.
              Benefits are handled differently if you return to work for longer than three months or you experience a
              disability from a second, unrelated cause. In that case, you are considered to have a second disability.
              The six-month waiting period starts again with the new disability.




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When Long Term Disability Benefits End
              If you have a covered disability and are receiving long term disability benefits, your benefits end when the
              earliest of the following events occurs:
              •    You no longer have a covered disability under the Plan, as determined by the Claims Administrator;
              •    The Company, at its sole discretion, offers you - at your pre-disability base pay -          employment
                   that accommodates any medical restrictions your health care practitioner orders;
              •    The first day for which you are unable to provide satisfactory evidence of a covered disability;
              •    You do not follow the treatment plan ordered by your health care practitioner;
              •    You fail to cooperate with a scheduled independent medical examination (IME) or functional capacity
                   evaluation (FCE);
              •    You begin work for wage or profit with any employer or through self-employment, unless the work is
                   rehabilitative employment (see below) approved by the Claims Administrator;
              •    The applicable period of benefit payments ends based on your age (see chart on page 140);
              •    You complete the vocational rehabilitation program developed for you, or you decline to participate in
                   the program or fail to complete it;
              •    You are incarcerated;
              •    You die; or
              •    The Plan terminates.
              You cannot substitute holiday pay or vacation pay for payment of disability benefits.

Modified Duty Employment
              While you are receiving disability benefits, it may be determined that you could return to work in your
              regular job if your duties were modified to accommodate your current health limitations. Such a
              determination is made by your health care provider or a health care provider selected by the Company or
              Claims Administrator. The Claims Administrator will work with you and your work location to determine if
              the suggested modifications can be reasonably accommodated. Your benefits end if yow do not accept
              modified duty employment that has been designed for you.
              In modified duty employment, you work at your regular job with either restrictions on the work you do or a
              reduction in the number of hours you work. The Company does not create positions for the purpose of
              modified duty employment. Any permanent job restrictions are analyzed in accordance with the Americans
              with Disabilities Act.
              You receive your regular pay while working in modified duty employment. Modified duty employment may
              last up to 90 days. After 90 days, you must return to your regular job, go back on disability or receive an
              extension that has been approved by the Claims Administrator, Plan Administrator and Company.

Rehabilitative Employment During Disability
              If you are eligible to receive LTD benefits but believe that you may be able to return to active work either
              with another employer or in a self-employed arrangement, you may request approval for a rehabilitative
              employment period.
              If approved, you will be eligible for long term disability benefits for up to a three-month period of
              rehabilitative employment. The LTD benefit you would otherwise receive is reduced by 50% of the gross
              income you earn from rehabilitative employment.
              You may request additional three-month periods of rehabilitative employment, up to a maximum period of
              24 months for any one disability.
              Contact the Claims Administrator for an application and additional information.




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Eaton Summary Plan Description                                                                             Long Ten11 Disability Plan




Vocational Rehabilitation
              If you become eligible to receive long term disability benefits under the Plan, the Claims Administrator will
              evaluate your potential job skills and physical capacity for a vocational rehabilitation program. If the
              Claims Administrator determines retraining will prepare you to hold a job, in a similar or another
              occupation, a vocational rehabilitation program may be developed for you.
              A vocational rehabilitation program means any reemployment program selected by the Claims
              Administrator, in its sole discretion, as appropriate for the claimant. This may include vocational or
              placement counseling, skills training, placement assistance or vocational training.
              Long term disability benefits will end if you refuse to participate in a program that the Claims Administrator
              has identified as appropriate for you. Payment of expenses, for the vocational rehabilitation program, will
              be mutually agreed upon by the Plan and participant.


HOW TO OBTAIN BENEFITS

Claims for Long Term Disability Benefits
              You are required to complete and submit certain forms to receive Long Term Disability Plan benefits.
              If you are receiving disability benefits from the Short Term Disability Plan, the Claims Administrator will
              mail the Long Term Disability Plan forms to you at the end of your fourth month of disability.
              You must complete the forms and return them to the Claims Administrator within 30 days of when you
              receive them.

Filing Deadline
              The forms to receive benefits from the Long Term Disability Plan must be completed and returned to the
              Claims Administrator within one year of your last day of active work with the Company. If you do not meet
              this filing deadline, you will not be eligible to receive long term disability benefits.

Deadline for Responding to Requests for Information
              In addition to the standard forms, the Claims Administrator may require additional medical or other
              information to evaluate your claim. If the Claims Administrator requests additional information, you must
              respond within 30 days of the initial request. If you do not respond by this deadline, your claim will be
              denied. It is your responsibility to see that your health care practitioner submits any requested medical
              information within this 30-day period.

Claims for Other Disability Benefits
              Remember that the maximum long term disability benefit is reduced by the amount of benefits you are
              eligible to receive from other sources.
              You must apply for Social Security Disability benefits as soon as the Claims Administrator determines you
              are eligible for them. The Claims Administrator will assign your case to a Social Security advocacy group
              that will work with you to get the benefits you and your dependents may be entitled to because of your
              disability. If you fail to participate in this advocacy process, your LTD benefits will be reduced by an
              estimate of the expected Social Security award until the Claims Administrator receives documentation of
              your Social Security application.
              If your initial application for Social Security Disability benefits is denied, the Plan requires you to reapply.
              In the event Social Security Disability benefits are denied upon re-application, the Plan requires you to
              appeal the denial before an Administrative Law Judge. If the Administrative Law Judge denies your
              application, your disability benefits will be reinstated retroactively.
              If a determination of your Social Security Disability benefit has not yet been made within the first 30 days
              of the start of your Long Term Disability Plan benefits, the Claims Administrator will reduce your Plan
              benefit using an estimated Social Security amount.




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How Payments Are Made
              Long term disability benefits are paid monthly. Benefits are prorated for any period of disability lasting less
              than a month.
              If amounts from another source for which the Plan reduces benefits are paid to you in a lump sum, the
              Claims Administrator considers those benefits as if they were paid in monthly installments - prorated
              over the period the lump sum was intended to cover.

Medical Information
              Objective findings of a disability are necessary to substantiate the period of time your health care
              practitioner indicates you are disabled. Objective findings are those that can be observed by your
              health care practitioner through objective means, not from your description of the symptoms. Objective
              findings include:
              •    Physical examination findings (functional impairments/capacity);
              •     Diagnostic test results/imaging studies;
              •    Diagnoses;
              •    X-ray results;
              •     Observation of anatomical, physiological or psychological abnormalities; and
              •     Medications and/or treatment plan.

Requirement to Update Medical Information
              If your claim is approved by the Claims Administrator, your health care practitioner will periodically be
              requested to submit updated medical information regarding your continuing disability. Payments will end if
              information required to revalidate your claim is not received within 30 days of the initial request. You are
              responsible for the expense involved in obtaining updated medical information regarding your disability.
              The Claims Administrator may require you, from time to time, to undergo an independent medical
              examination (IME) and/or a functional capacity evaluation (FCE). If you do not cooperate with this request
              (for example, you fail to keep a scheduled appointment), your benefits will end. If the Claims Administrator
              requests that you undergo an independent medical examination and/or a functional capacity test, the
              examination is made at the Company's expense.




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COORDINATION OF BENEFITS
              Eaton uses a coordination of benefits (COB) process to determine benefit payments from the Medical,
              Dental and Vision Plans. COB applies when benefits for the same expenses for you or any of your
              covered dependent are payable from another group health plan. Other group health plans include
              government plans, employer-sponsored plans and HMOs.
              COB helps to avoid double payments and control costs.

Which Plan Pays First
              When expenses are eligible for coverage from more than one plan, the plan identified as the primary plan
              pays benefits first, based on its plan rules. Then the secondary plan determines what it will pay, if
              anything. This section explains how the plans decide which plan is primary.
              For Employees.

              If ...                             I    Primary Plan                         I    Secondary Plan
              You are covered by more                The plan that covers the patient          The plan that covers the patient
              than one group health plan             as an active employee                     as a dependent
                                                     The plan that covers the patient          The plan that covers the patient
                                                     as an active employee                     as a retiree
                                                     The plan that covers the patient          The plan that covers the patient
                                                     as a retiree                              as a dependent
              You are an active Eaton                Your other employer's plan                The Eaton Plan
              employee and you have a
              second job that provides
              coverage
              The other group health                 The other group health plan               The Eaton Plan
              plan does not have a COB
              clause
              The other plan is motor                The motor vehicle liability or            The other plan
              vehicle liability or                   uninsured/underinsured
              uninsured/                             coverage
              underinsured coverage


              For Dependent Children Covered by Both Parents' Plans.

              If ...                             I    Primary Plan                         I    Secondary Plan
              The parents are not                    The plan of the parent whose              Other parent's plan
              divorced or legally                    birthday comes first in the
              separated                              calendar year*
              The parents are divorced               Plan of the parent who has                Other parent's plan
              or legally separated                   legal custody
              A parent who has legal                 Plan of the parent with legal             The plan of the stepparent is
              custody remarries                      custody                                   secondary.
                                                                                               The plan of the natural parent
                                                                                               without custody pays third.
              A parent is assigned                   Plan covering that parent                 The other parent's plan
              financial responsibility for a         (For a stepchild, the divorce
              child's medical care                   decree determines the primary
              expenses                               plan.)

               * For example, if your birthday is May 1 and your spouse's birthday is December 5, your medical plan pays first.
                 The year of each parent's birth is not a factor. If both parents have the same birthday, the plan of the parent who
                has been covered the longest pays first.




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              Eaton Medical Plan and Medicare. In most cases, the Eaton Medical Plan is the primary plan when a
              person is covered in the Plan and also eligible for Medicare. The Eaton Plan pays benefits first and
              Medicare is the secondary payer when:
             •     You or a dependent is covered by the Eaton Medical Plan and also eligible for Medicare.
             •     You are an active employee age 65 or older. You can choose to have Medicare be the primary payer,
                   but your Eaton Medical Plan coverage will end.
              •    During the first 30 months the person covered by the Eaton Medical Plan qualifies for Medicare
                   because of end stage renal disease (ESRD).
             •     You cover your domestic partner under the Eaton Medical Plan and he or she is Medicare-eligible
                   because of disability or during the first 30 months of ESRD.
              The Federal Secondary Medicare Payer Program identifies Medicare as the primary payer:
              •    After the person covered under the Eaton Medical Plan has qualified for ESRD for 30 months. The
                   30-month period starts on the earlier of the month in which the covered person:
                         begins a regular course of renal dialysis, or
                         receives a kidney transplant without first beginning dialysis.
              •    You cover your domestic partner under the Eaton Medical Plan and he or she qualifies for Medicare
                   based on age (unless he or she has coverage through his or her own employer).
              When Medicare is the primary payer and the covered person enrolls in Medicare Advantage, the Eaton
              Plan stops paying benefits for him or her. To avoid paying for Eaton Plan coverage, you must waive
              coverage through the Eaton Service Center at Fidelity. If you later reenroll in Medicare Parts A and B, you
              can start your Eaton Plan coverage again by contacting the Eaton Service Center at Fidelity within
              31 days of the date Medicare Parts A and B become effective.
              Other COB Rules. If the COB procedures described above fail to determine which plan is primary, then
              the plan covering the patient for the longest period of time pays first. However, if a plan covers a person
              as the dependent of a retired employee, the benefits of that plan are secondary to a plan that covers the
              person as the dependent of an active employee. (If the other plan does not have this provision, this
              exception does not apply to that plan.)
              Regardless of any COB provisions, the plan does not cover a dependent unless he or she meets the
              requirements under "Eligibility for Your Dependents."

How COB Works for Medical (Including Medicare), Dental and Vision Expenses
              When the Eaton Medical, Dental or Vision Plan is primary, the Plan calculates and pays benefits as if
              there is no other plan.
              When the Eaton Plan pays second, the Claims Administrator determines the benefits the Eaton Plan will
              pay as follows.
              Step 1:            The Claims Administrator calculates your benefit as if the Eaton Plan paid first.
              Step 2:            The Claims Administrator compares that amount to the primary plan's benefit.
              Step 3:            If the Eaton Plan would have paid a bigger benefit than the primary plan, the Eaton Plan
                                 makes a payment toward the remaining eligible expenses. The amount the Eaton Plan
                                 pays is the difference between what it would have paid and what the primary plan already
                                 paid. The payment is made subject to all Plan provisions, and the total paid will not be
                                 more than what the Eaton Plan would have paid if it paid first.
              If the Eaton Plan would have paid the same or a smaller benefit than the primary plan, you receive no
              benefit from the Eaton Plan.
              This same process applies when Medicare is the primary payer and the Eaton Medical Plan is
              secondary. Eaton Plan benefits are reduced to reflect the Medicare Parts A and B benefits payable -
              whether or not the covered person is enrolled. If Medicare is your primary plan, make sure to enclose
              the Explanation of Medicare Benefits (EOMB) when you submit expenses to the Health Plan Claims
              Administrator for payment.




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Coordination of Benefits Examples
              Medical Example. Assume a primary care physician office visit. The charges are:
              Office visit charge                                                                               $65
              Health Plan Claims Administrator's negotiated network charge (participating physician)            $55
              Maximum allowed amount                                                                            $60

                                 Consumer Health 80 Plan Option - Eaton Plan Is Secondary
                                                  Primary Plan Paid $43
                 In-Network                                              Out-of-Network
                    $55           Negotiated network charge                  $60           Eligible charge (maximum
                X    80%          Plan coinsurance                                         allowed amount)
                    $44           Eaton Plan payment if primary          X    60%          Plan coinsurance
                 - $43            Paid by primary plan                       $36           Eaton Plan payment if primary
                    $1            Benefit payable by Eaton Plan          ~                 Paid by primary plan
                                                                          $0               Benefit payable by Eaton Plan
            Note: Example assumes the annual deductible has been met. The out-of-pocket payment applies to the annual
            out-of-pocket maximum. When the Eaton Plan is secondary, participating providers are not obligated to honor the
            negotiated network charge.

              Dental Example. Assume a covered dental expense of $250 for a crown restoration. The annual
              deductible has already been met.

                                                       Eaton Plan Is Primary
             Dentist's Charge              $250            Reasonable & customary expense
                                            x50%           Plan coinsurance
                                           $125            Benefit paid by Eaton Plan




             Dentist's Charge               $250           Reasonable & customary expense
                                           $100            Primary plan payment
                                                           Eaton Plan as secondary pays $25
                                                           ($25 is the difference between the Eaton Plan as primary
                                                           [benefit of $125 available] and payment made by primary
                                                           plan when Eaton is secondary)
                                            $100           From the primary plan
                                            + 25           From the Eaton Plan, as secondary
                                            $125           Total from both plans
             Em lo ee/Patient Res                          $125          $250 less $125
             Plan Administration                           $25          Applied Toward Annual Maximum




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CLAIMS APPEAL PROCEDURE
              If you disagree with the Claims Administrator's decision on a claim you submitted, the Plan provides a
              claims appeal process. You must complete the appropriate steps in the process - that is, you must
              exhaust your administrative remedies - before you can file suit in state or federal court.
              This section of the SPD describes the Plan's claims appeal procedure in detail. Note that at each point in
              the claims process, you will receive the relevant information about your right to appeal a decision.
              The Claims Administrators are listed under "Administration and Other Information - Claims
              Administrator and Service Providers." The addresses for filing claims with the applicable Claims
              Administrator are also listed.

Claims and Claims Filing -         General Overview and Explanations
              A claim is a request for benefits for items or services that is made by or on behalf of a Plan participant
              to the Claims Administrator. Claims must be filed according to the Plan's procedure for the applicable
              benefit claims.
              The group health plans distinguish among four types of claims:
              •    Urgent care claims are claims on which a decision must be made as soon as possible, taking into
                   account the medical exigencies, but not later than 72 hours after the claim is filed. The 72-hour period
                   applies because a longer time period for processing:
                         could seriously jeopardize your life, health or ability to regain maximum function; or
                         in the opinion of a physician with knowledge of your medical condition, would subject you to
                         severe pain that can be adequately managed only with the care or treatment requested in
                         the claim.
              •    Concurrent care decisions relate to treatment provided on an ongoing basis over a period of time or
                   approved for a specified number of treatments. A request to extend the course of treatment beyond
                   the approved time period or number of treatments requires a concurrent care decision by the Claims
                   Administrator. Benefits for an ongoing course of treatment cannot be reduced or terminated without
                   providing advance notice and an opportunity for advance review.
              •    Pre-service claims are claims for treatments or services that require pre-authorization as a
                   precondition for payment of benefits or for payment of the largest benefit available. Pre-service claims
                   differ from urgent care claims because an emergency situation does not exist.
              •     Post-service claims are claims for care that you have already received. These claims involve only
                    the decision to approve payment to the provider or reimburse you for the cost of the services. An
                    example of a post-service claim is paying the full price for a prescription drug at a retail pharmacy and
                    then requesting reimbursement from the Plan. All welfare plan claims are considered to fall in this
                    category as follows: the DentalNision Reimbursement Account Plan, Dependent Care
                    Reimbursement Account Plan, Work/Life Solutions Plan, Adoption Benefits Plan, Disability Plan and
                    Employee Life Insurance Plan.
              You must file all claims in writing - except urgent care claims, which can be filed over the telephone.
              Your claim is considered to be filed on the date the Claims Administrator receives it.
              You may authorize a personal representative to act on your behalf in the claim filing and appeal process
              by completing and signing the form specified by the Claims Administrator. For an urgent care claim, a
              health care professional with knowledge of your health condition is permitted to act as your authorized
              representative until you are able to make a written authorization.
              You or your dependent for whom a claim is filed may be referred to as a claimant in some
              correspondence. For purposes of this claims procedure section, use of the word "you" means
              the "claimant."




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Claim Denials or Adverse Benefit Determinations
             The terms "claims denial," "denied claim" and "adverse benefit determination" are interchangeable and
             refer to a claim for Plan benefits that is:
              •     Denied,
              •     Reduced,
              •     Terminated, or
              •     Fails to provide or make payment in whole or in part for the service or treatment requested.
              A rescission of coverage under the group health plans is also considered an adverse benefit
              determination. An adverse benefit determination may be based on any of the following reasons:
              •     A determination that you are not eligible to participate in the Plan,
              •     The application of utilization review,
              •     A determination that the item or service requested is experimental or investigational, or
              •     A determination that the item or service requested is not medically necessary or not appropriate.
              Claim denials are made in writing and can be appealed. The claim denial that you receive from the Claims
              Administrator will explain the next step in the appeals process.

FILING AND APPEALING CLAIMS
              There are several steps in the claims filing and appeal process. You must complete the applicable steps
              for your type of claim as outlined here to exhaust your administrative procedures.

Step 1: You File a Claim with the applicable Claims Administrator
              You can find the process for filing a claim for services toward the back of each benefit section of
              this booklet.

Step 2: Claims Administrator Makes an Initial Decision on Your Claim
              After reviewing your claim, the Claims Administrator sends you an explanation of benefits (EOB) showing
              what the Plan will pay for the services requested in the claim and/or information about the claim, such as if
              it is incomplete.
              Required Time Frames. If you filed your claim properly, the type of claim you filed determines the amount
              of time the Claims Administrator has to make an initial decision on your claim. A decision as to whether
              your claim is accepted or denied is made as soon as possible but at least within the times shown here:

                                           Time Frames for Initial Decision on Your Claim
                  Type of Claim                              Initial Decision                      Extension (see
                                                                                                   Extensions for Claims
                                                                                                   on the next page)
                  Urgent care claim and urgent               72 hours (24 hours for urgent         NA
                  concurrent care decision                   dental concurrent care if the
                                                             claim is made at least 24 hours
                                                             before the expiration of the
                                                             prescribed period or number of
                                                             treatments)
                  Concurrent care decision (not              15 days                               15 days
                  urgent), pre-service (not urgent) and
                  dental non urgent care claims
                  Post-service for medical, dental and        30 days                              15 days for medical,
                  vision; DVRA (DentalNision                                                       prescription drug,
                  Reimbursement Account) claims                                                     DVRA




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                                           Time Frames for Initial Decision on Your Claim
                  Disability claim                           45 days                                   30 days; additional
                                                                                                       30 day extension for
                                                                                                       Long Term Disability
                                                                                                       Plan
                  Work/Life Solutions Plan and               60 days                                   NA
                  Adoption Benefits Plan
                  Dependent Care Reimbursement               90 days                                   60 days DCRA;
                  Account (DCRA), Life and AD&D                                                        90 days Life and
                  Plan claims                                                                          AD&D Plan

              These timeframes do not determine the date the claim is paid.
              Incomplete or Improperly Filed Urgent Care or Pre-Service Claims. The Claims Administrator will
              notify you within 24 hours of when they receive your urgent care claim if you did not:
              •      Follow the Plan's procedures for filing an initial urgent care claim, or
              •      Provide enough information in your claim for the Claims Administrator to determine whether, or to
                     what extent, benefits are covered or payable under the Plan.
              Unless you request it in writing, this notice may be provided orally and will explain the proper procedures
              to follow and/or the specific information needed. If specific information is required, you will be given a
              reasonable amount of time (taking into account the medical circumstances, but at least 48 hours) to
              provide it.
              For an urgent care claim, the Claims Administrator will notify you of the benefit determination within
              48 hours of whichever of the following is earlier:
              •      The date the Claims Administrator receives the specified information, or
              •      The end of the period in which you had to supply the information.
              The same procedures apply for a pre-service claim as for an urgent care claim, except that the Claims
              Administrator has five days to notify you that the pre-service claim was filed improperly or did not contain
              complete information.
              Extensions for Claims. The Claims Administrator may extend the time for its response to your initial
              claim by up to the days specified in the chart above under "Extension" for matters beyond its control,
              including an incomplete claim. You must be notified in writing of the extension before the initial decision
              period ends (15, 30, 45 or 90 days respectively), including the reasons for the extension and a description
              of any additional information you need to supply to complete your claim.
              You have 45 days (30 days for the Disability Plan) from the date the Claims Administrator sends the
              notification to supply the specified information. Once you provide the additional information, the Claims
              Administrator will notify you of the benefit determination on your initial claim within 15 days of the earlier of:
              •      The date the Claims Administrator receives the specified information, or

              •      The end of the period in which you had to supply the information.
              The Plan may secure independent medical or other advice and require other evidence it deems necessary
              to decide your claim.
              For the LTD Plan, if the Claims Administrator determines that, because of reasons beyond the control of the
              Claims Administrator, a decision cannot be reached within the 30-day extension period, the determination
              period may be extended for up to an additional 30 days. The Claims Administrator must notify you before the
              end of the first 30-day extension period, telling you the reason for the extension and the expected decision date.
              Decision on Your Claim. If your initial claim is denied, in whole or in part, you will receive a written notice
              that contains the information listed in the "Required Content of Adverse Benefit Determination
              Notifications" box on page 151. This may come in the form of an EOB.
              Please note that an EOB form usually meets the legal definition of a claim denial because deductibles,
              coinsurance and other cost-sharing charges that are normally your responsibility to pay mean that the Plan
              does not cover the claim at 100%. As a result, even though the percentage of the charge you must pay is
              defined by the Plan's cost-sharing features, the EOB will include information about your right to appeal.


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               Required Content of Adverse Benefit Determination Notifications
               The Claims Administrator will send you a written or electronic notification of adverse benefits
               determination that includes the following:
                 •    Information sufficient to identify the claim involved (including the date of service, the health care
                      provider, the claim amount (if applicable), and a statement describing the availability upon request
                      of the diagnosis code and its corresponding meaning, and the treatment code and its
                      corresponding meaning).
                 •    The specific reason or reasons for the denial (including the denial code and its corresponding
                      meaning as well as a description of any standard that was used in denying the claim).
                 •    Reference to the specific Plan provisions on which the determination is based.
                 •    A description of any additional material or information necessary for you to perfect the claim and
                      an explanation of why such material or information is necessary.
                 •    A description of the Plan's internal appeals and external review procedures and the time limits
                      applicable to these procedures, including a statement of your right to bring a civil action under
                      section 502(a) of ERISA following an adverse benefit determination on final review by the Claims
                      Administrator.
                 •    If an internal rule, guideline, protocol or other similar criterion ("internal rule") was relied on in
                      making the adverse determination, either the internal rule itself or a statement that such an
                      internal rule was relied on in making the adverse benefit determination and that a copy of that
                      internal rule will be provided to you free of charge upon request.
                 •    If an adverse benefit determination is based on a medical necessity, experimental treatment or
                      similar exclusion or limit, the notification will inform you that an explanation of the scientific or
                      clinical judgment for the determination will be provided free of charge upon request.
                 •    For health care claims, the availability of, and contact information for, any applicable office of
                      health insurance consumer assistance or ombudsman who may assist you with the internal
                      claims appeals and external review processes.
                 •     For urgent care claims, a description of the expedited review process applicable to such claims.
                If your appeal of a claim is denied, the notification of denial will also include, if applicable:
                 •    A statement describing any additional mandatory or voluntary appeal procedures offered by
                      the Plan, including the opportunity for you to request an external review by an independent
                      review organization.
                 •     A statement that "You and your Plan may have other voluntary dispute resolution options such as
                       mediation. One way to find out what may be available is to contact your local U.S. Department of
                       Labor Office and your state insurance regulatory agency."
                 •     An explanation of your right to request reasonable access to and copies of all documents, records
                       and other information relevant to your claim without charge.
                 •     In the case of a second level appeal denial, the description of the Plan's standard, if any, used in
                       denying the claim must include a discussion of the decision.


Step 3: You Appeal a Denial of Your Initial Claim -           First-Level Appeal
              If you do not agree with the Claims Administrator's determination, you have 180 days (60 days for Life and
              AD&D Plan) from the date you receive the written denial of your initial claim to appeal the decision. Your
              claim appeal must be in writing and filed with the Claims Administrator at the address listed in the
              materials they send you (see box above). If you do not appeal within 180 days (60 days for Life and AD&D
              Plan), you lose your right to appeal the denial, and because you failed to exhaust your internal
              administrative appeal rights, you lose your right to file suit in court.
              For the Disability Plan, you must file your appeal of the initial claim denial within 30 days of receipt of the
              written notification to avoid termination of your employment.




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Step 4: Claims Administrator Reviews Your Appeal and Makes a Decision
              When you appeal a claim denial, the Claims Administrator reviews your claim again and makes a
              decision based on all comments, documents, records and other information you have submitted.
              The following rules apply in group health plan review of a claim appeal:
              •      For health care benefits, someone other than the original reviewer and who does not report to the
                     original reviewer reviews the claim decision.
              •      If the denial was based, in whole or in part, on a medical judgment, the reviewer will consult with a
                     health care professional who has appropriate training and experience in the medical field involved.
                     The health care professional cannot be the same person who made the original denial decision nor
                     someone who reports to that person.
              •      The identity of medical or vocational experts who were consulted in the initial claim denial must be
                     disclosed to you regardless of whether their advice was relied on in making the claim determination.
              •      For an urgent care claim, the review process is expedited and you can submit your request for a
                     review orally or in writing. Necessary information may be transmitted between you and the Plan by
                     phone, fax or any other similarly expeditious method.
              •      The review of the appeal cannot defer to the initial denial of your claim; that is, the review must stand
                     on its own and not use the previous decision to support the decision on appeal.
              The Claims Administrator will send you, at no extra charge, any new or additional evidence or rationale
              that is considered, relied on or generated in connection with your appeal of the claim. This information
              must be provided to you as soon as possible so you have a reasonable amount of time to respond before
              the date of the final determination of the claim.
              Required Time Frames. Based on the type of claim, the Claims Administrator must review your appeal
              within a reasonable amount of time but at least within the periods shown here:

                                     Time Frames for Decision on Your Appeal of a Denied Claim
                  Type of Claim                                    First Level Appeal             Extension
                                                                   Decision
                  Urgent care claim and urgent concurrent          72 hours                       NA
                  care decision
                  Concurrent care decision (not urgent) for        15 days                        NA
                  prescription drug and dental claims; pre-
                  service claim (not urgent) for prescription
                  drug; and dental non urgent care claims
                  Pre-service claim (not urgent) and               30 days                        15 days for vision
                  concurrent care decision (not urgent) for                                       No extension available
                  medical; post-service claim for dental and                                      for dental and DVRA
                  vision; and DentalNision Reimbursement
                  Account (DVRA) claims
                  Disability claim                                 45 days                        45 days
                  Post-service claim for medical, Dependent        60 days                        60 days
                  Care Reimbursement Account, Work/Life                                           No extension available
                  Solutions Plan, Adoption Benefits Plan,                                         for Medical, Work/Life
                  Life and AD&D Plan claims                                                       Solutions Plan and
                                                                                                  Adoption Benefits Plan

              If your claim appeal is denied, in whole or in part, the Claims Administrator will send you a written notice
              that contains the information listed in the "Required Contents of Adverse Benefit Determination
              Notifications" box on page 151.
              Extensions. The Claims Administrator may extend the time for its response to your first level appeal
              claim by up to the days specified in the chart above for matters beyond its control, including an incomplete
              claim. You must be notified in writing of the extension before the appeal decision period ends, including
              the reasons for the extension and a description of any additional information you need to supply to
              complete your claim.


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Step 5: Your Options if Your First-Level Appeal Is Denied
              If the Claims Administrator denies your claim after a first-level appeal for Dependent Care
              Reimbursement Account and Work/Life Solutions Plan claims, you may file suit in court (see Step 8).
              For all other benefits, if the Claims Administrator denies your claim after a first-level appeal, you have
              these options available to you:
              •    For medical claims:
                         file a voluntary second-level appeal with the Health Plan Administrator (see Step 6),
                         in certain circumstances, you may request an external review by an independent review
                         organization (may be done at the same time as filing for a voluntary appeal) (see Step 7), or
                         file suit in court (see Step 8).
              •    For prescription drug claims:
                         urgent care claims, request an expedited external review by an independent review organization
                         (see Step 7) or file suit in court (see Step 8).
                         non-urgent drug claims, you must file a second-level appeal with the Health Plan Claims
                         Administrator (see Step 6).
              •     For dental claims:
                         urgent care claims, request a voluntary second-level appeal with the Plan Administrator (see
                         Step 6).
                         all other dental claims, you must file a second-level appeal with the Plan Administrator (see
                         Step 6).
              •     For vision, DVRA and Disability Plan claims, you must file a second-level appeal with the Plan
                    Administrator (see Step 6).
              •     For Life and AD&D claims, file suit in court (see Step 8).

Step 6: Second Level of Appeal for Claims.
              Mandatory Second-Level Appeal. If the Claims Administrator denies your claim for prescription drug,
              non-urgent care dental, vision, DVRA, disability and life benefits in your first-level appeal and you do not
              agree with the determination, you must appeal the decision (file a second-level appeal) with the Claims or
              Plan Administrator for a final determination as follows:
              •     For prescription drug non-urgent drug claims, you must file a second-level appeal with the Health
                    Plan Claims Administrator within 90 days from the date you receive the written denial
              •     For all dental except urgent care claims: you must file a second-level appeal with the Plan
                    Administrator within 60 days from the date you receive the written denial
              •     For vision claims, you must file a second-level appeal with the Plan Administrator within 60 days from
                    the date you receive the written denial
              •     For DVRA claims, you must file a second-level appeal with the Plan Administrator within 30 days from
                    the date you receive the written denial
              •     For Disability Plan claims, you must file a second-level appeal with the Plan Administrator within
                    180 days from the date you receive the written denial
              If you do not appeal within the times specified above, you lose your right to appeal the denial, and you
              lose your right to file suit in court because you failed to exhaust your internal administrative appeal rights.
              In reviewing the denial of your appeal, the Administrator must comply with the same standards in Step 4.
              A decision will be made within 15 days (30 days for post-service dental, vision and DVRA claims, 45 days
              for Disability Plan claims (with possible extension of 45 days),of when the Administrator receives your
              appeal. You will be notified in writing of the decision on your appeal. If your claim is denied, you may file a
              suit in federal court (see Step 8) or in certain circumstances, you may request an external review (see
              Step 7).




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              Voluntary Second-Level Appeal for Medical and urgent care Dental Claims. If the Claims Administrator
              denies your medical claim appeal and you do not agree with the determination, you may file a voluntary
              appeal with the Plan Administrator. Your appeal must be in writing and filed with the Plan Administrator at
              the address listed under" Administration and Other Information - Plan Administrator'' within 45 days for
              medical claim and 60 days for dental Plan claim of receiving the Claims Administrator's determination of
              your first appeal.
              At the same time as you file the voluntary appeal, you may file a suit in federal court (see Step 8) or, in
              certain circumstances for a medical claim, you may request an external review (see Step 7). The Plan
              Administrator will not assert a failure to exhaust administrative remedies if you elect to pursue a claim in
              court after the first-level appeal, rather than through the voluntary level of appeal or external review
              process. The running of any statute of limitations applicable to pursuing your claim in court will be
              suspended during the period of the voluntary appeal process.
              Your decision on whether to pursue a voluntary appeal with the Plan Administrator has no effect on your
              right to any other benefits under the Plan.
              The Plan Administrator has 30 days (with the option to extend by an additional 30 days) for the Medical
              Plan or 10 days for the Dental Plan to review your voluntary appeal and make a decision. Because the
              appeal is voluntary, you do not have to complete this step. You may file a suit in federal court (see Step 8)
              or in certain circumstances, you may request an external review for medical claims (see Step 7) at the
              same time as requesting a voluntary appeal.

Step 7: External Review Process
              You may request an external review by an Independent Review Organization (IRO) when you receive a
              denial of:
              •    Your initial urgent care claim,
              •    Your first-level appeal of a non-urgent medical claim, or
              •    Your second-level appeal of a non-urgent prescription drug claim.
              Your claim is eligible for external review if:
              •    You are or were covered under the Plan when the health care item or service was requested
                   or provided;
              •    The claim or appeal denial was based on medical judgment or was a rescission of coverage;
              •    You have exhausted all of the Plan's claims and appeal processes up to the external review process
                   if it is a non-urgent care claim; and
              •    You have provided all information and forms required to process the external review.
              Your request for an external review must be in writing and filed with the Claims Administrator within four
              months of receiving your claim denial. Although it is not required, you may include issues, comments,
              documents, records and other information relating to your claim that you want considered in the
              external review.
              Standard {non-expedited) External Review. Within five days of receiving your request, the Claims
              Administrator must determine if your claim appeal is eligible for an external review. The Claims
              Administrator will notify you in writing within one day of the decision on your claim's eligibility for an
              external review.
              If your request is complete but not eligible for an external review, the notice will include the reasons your
              request is ineligible and contact information for the Employee Benefits Security Administration. If your
              request is incomplete, the notice will describe the information needed to complete the request. You will
              have until the later of the end of the four-month period you had to file the request for an external review or
              the 48-hour period after you receive the notice to provide the missing information.
              The Claims Administrator assigns eligible claims to an independent review organization (IRO). The IRO
              notifies you when the review process is beginning, and you will have 10 business days following receipt of
              the notice to provide the IRO with additional information to consider in your appeal.
              The IRO will provide written notice of the final external review decision within 45 days after it receives your
              request for external review.



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              The IRO will not defer to the decisions made during the internal appeal process and will consider all the
              information and documents that it receives in a timely manner when making its decision.
              Expedited External Review. You may request an expedited external review for an urgent care claim at
              the same time you request a first-level appeal of a denied claim by the Claims Administrator.
              For other claims, you may request an expedited external review if your claim is denied after the first-level
              appeal, and:
              •    The time for completing the standard external review process would jeopardize your life, health or
                   ability to regain maximum function; or
              •    The denial of the first-level appeal concerned the admission, availability of care, continued stay or
                   health care item or service for which you received emergency services, and you have not yet been
                   discharged from a facility.
              In general, the same rules that apply to a standard external review apply to an expedited external review,
              except that the time frame for decisions and notifications is shorter. The Claims Administrator will
              immediately conduct a preliminary review to determine if your claim is eligible for an external review. After
              the preliminary review is complete, the Claims Administrator will immediately notify you of its determination.
              If your claim is eligible for an expedited external review, your claim will be assigned to an IRO. The IRO will
              provide you its final decision as expeditiously as your medical condition or circumstances require, but in no
              event will the notification be provided later than 72 hours after the IRO receives the request for expedited
              external review. If you receive a verbal notice, a written notice will follow no more than 48 hours later.
              External Review Decision Is Final. All claim decisions of the external IRO are final. If the IRO
              reverses the denial of your claim, the decision will be final and the Plan must immediately provide
              coverage or payment.

Step 8: You File Suit in Federal Court
              You have the right to file suit in federal court under ERISA Section 502(a) if the Claims Administrator
              denies your:
              •     Initial urgent care claim
              •     First-level appeal of a pre-service, concurrent or post-service medical claim, Dependent Care
                    Reimbursement Account, Work/Life Solutions Plan, Adoption Benefits Plan and Life and AD&D
                    Plan claims
              •     Second-level appeal of a prescription drug claim, dental (except for urgent care), vision, DVRA and
                    disability claims
              •     Voluntary appeal
              In these cases, you are considered to have exhausted the administrative review process. You must file
              suit within one year after the date of the claim determination.
              The running of the one-year time period may be suspended during a voluntary appeal for urgent
              care claims.




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RECOVERY OF BENEFITS
              The Company has the right to recover benefits payments that are made in error. It may do on its own
              behalf or through the Claims Administrator or other third party administrators.
              For health care plans, payments made in error include, but are not limited to, payments that are:
              •    More than the amount allowed under a Plan.
              •    Made incorrectly on behalf of a dependent.
              •    Made for services the Plan does not cover.
              Recovery may be made from any person or health care provider to whom the payments were made or
              from future benefits the covered person is entitled to.
              For disability plans, payments made in error include, but are not limited to, payments that are:
              •    Wrong.
              •    Made for any period you fail to provide satisfactory evidence of a covered disability.
              •    Not reduced by the total amount of certain other sources of income as listed in the Eaton Short Term
                   Disability Plan and Long Term Disability Plan.
              Retroactive payments you receive from any of the listed sources of other income must be immediately
              disclosed to the Claims Administrator. Excess payments will be recovered directly from you, or if
              necessary, from future benefit payments or from your estate, to the extent permitted by law.




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RIGHTS OF RESTITUTION AND REIMBURSEMENT AND SUBROGATION
              If the Plan provides or pays benefits to treat an injury or sickness:
              •    Caused by the act or omission of another party;
              •    Covered by no fault or employers' liability laws;
              •    Covered by Workers' Compensation if disabling;
              •    Available or required to be furnished by or through national or state governments or their agencies; or
              •    Sustained on the property of a third party that has premises liability insurance available, then:
              The Plan, or Claims Administrator on behalf of the Plan, has the equitable right to recover the value of
              services and payments made under the Plan as well as an equitable lien on any moneys that might be owed
              to you for the injury or sickness. This right is by restitution and reimbursement or subrogation, and exists
              because the benefit payable under the Plan is the net amount of covered claims after taking all other forms
              of recovery into account. The right of restitution and reimbursement means you or a covered dependent
              must repay the Plan at the time a recovery is made. Accordingly, if you receive benefits under any of the
              circumstances listed, you must repay the Plan the amount of the benefits you receive from another source -
              up to the amount you have received from the Plan - because the Plan has an equitable lien in that amount.
              Recovery includes all amounts received by you or a covered dependent from any persons, organizations or
              insurers by way of settlement, judgment, award or otherwise on account of such injury or sickness. The right
              of subrogation means that the Plan, the Claims Administrator or another third party acting on behalf of the
              Plan may make claim in your or your covered dependent's name or the Plan's name against any persons,
              organizations or insurers on account of such injury or sickness.
              The rights of restitution and reimbursement or subrogation apply whether or not you or a covered dependent
              has been fully compensated for his or her losses or damages by any recovery of payments. If a covered
              person settles a claim against a third party, he or she is deemed to have been made whole by such settlement
              and the Plan, or the Claims Administrator or other third party acting on behalf of the Plan, is entitled to
              immediately collect the present value of its subrogation rights as the first priority claim from said settlement
              or judgment. The Plan is entitled to the first dollars recovered. No attorney's fees will be payable from any
              subrogation recovery unless the Plan has been notified of the attorney's proposed representation in advance,
              and unless the Plan has agreed in writing to the representation of the Plan's interests by that attorney.
              Under certain circumstances, a covered person will be required to hold the Company and the Plan
              harmless against future claims for covered expenses pertaining to the injury or sickness for which a
              settlement is reached.
              These rights of restitution and reimbursement or subrogation apply to any type of recovery from any
              third party, including but not limited to recoveries from tort-feasors, underinsured motorist coverage,
              uninsured motorist coverage, other substitute coverage or any other right of recovery, whether based
              on tort, contract, equity or any other theory of recovery. Any amounts a covered person receives from
              such a recovery must be held in trust for the Plan's benefit to the extent of the Plan's restitution and
              reimbursement or subrogation claims.
              Covered persons must cooperate fully in every effort - by the Plan, the Claims Administrator or another
              third party acting on behalf of the Plan - to enforce the Plan's rights of restitution and reimbursement or
              subrogation. Covered persons must not do anything to interfere with those rights. The Plan has the right
              to discontinue the payment of benefits if the covered person fails to cooperate. The Plan also has the right
              to seek reimbursement from the covered person for the amount of benefits paid related to that loss.
              Covered persons agree to promptly inform the Claims Administrator in writing of any situation or
              circumstance that may allow it to invoke the Plan's rights under this section.

ACCESS TO RECORDS
              By filing a claim for benefits and/or enrolling for coverage under the Plan (including the assignment of
              default coverage if you do not actively enroll), you authorize the Plan Administrator, Claims Administrator,
              other third party administrators and their representatives (collectively the "Administrators") to have access
              to any health records and medical information held by any health care provider who delivers services to
              you under the Plan. For a disability claim, you further allow access to any health records or medical
              information held by any health care provider and employment information held by any employer. You also
              authorize the Administrators to use your health records and medical information for claims processing
              (including, without limitation, claims for restitution and reimbursement or subrogation under the Plan),
              health care, dental or disability claims data evaluation, quality of care assessment, health service
              utilization review and evaluation of potential or actual claims against the Administrators.


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ADMINISTRATION AND OTHER INFORMATION
Plan Name, Type, Funding and Number

                 Plan Name                    Plan Type               Plan Funding*                     I Plan
                                         I                       I                                        Number
             Eaton Corporation Medical       Group health plan       The Plan is self-insured.            590
             Plan for U.S. Employees,                                Contributions to cover the
             which includes:                                         cost of the Plan are made by
             •     Medical Expense                                   enrolled active employees,
                   Benefits                                          other covered persons and
                                                                     the Company.
             •     Prescription Drug
                   Program                                           Plan benefits are funded by
                                                                     the Company in whole or in
             •     Dental Plan
                                                                     part through a voluntary
                                                                     employee benefits association
                                                                     ("VEBA") Trust for which Key
                                                                     Trust Company of Ohio, NA,
                                                                     serves as Trustee. The
                                                                     Trustee's address is Key
                                                                     Center, 127 Public Square,
                                                                     Cleveland, OH 44114.
                                                                     If the Trust is terminated and
                                                                     residual assets remain after
                                                                     all liabilities and all expenses
                                                                     of the Plans funded by the
                                                                     VEBA and the Trust have
                                                                     been satisfied, the Trustee
                                                                     will, at the direction of the
                                                                     Company, apply those assets
                                                                     to provide (directly or through
                                                                     the purchase of insurance)
                                                                     life, sickness, accident or
                                                                     other permissible benefits to
                                                                     employees, former employees
                                                                     or their eligible dependents
                                                                     under the plans.
                                                                     ActiveHealth programs and
                                                                     Expert Medical Opinion are
                                                                     not subject to ERISA.


             Eaton Corporation Medical       Group health plan       The Plan is fully insured under      590
             Plan for U.S. Employees,                                a group insurance contract
             which includes:                                         with Combined Insurance
             •     Vision Plan                                       Company of America
                                                                     (Combined). EyeMed Vision
                                                                     Care, Inc. reviews and pays
                                                                     claims on behalf of Combined.
                                                                     Premiums are paid by
                                                                     enrolled active employees
                                                                     through payroll deduction, by
                                                                     other covered persons, and
                                                                     by the Company to Combined
                                                                     from the Company's general
                                                                     assets.




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                  Plan Name                          Plan Type                   Plan Funding*                   I Plan
                                                I                           I                                      Number
              HSA                                   A trustee account           The. Company reserves the ··
                                                    administered. by            right to change Health
                                                    Fidelity Brokerage          Savings Account contributions
                                                    Services, LLC               at any time for any reason.
                                                                                Contributions are made by the
                                                                                Company and employees. It is
                                                                                not subject to ERISA.
              Eaton Corporation Flexible            A cafeteria plan            Employees elect before-tax         594
              Benefits Program, which               under Section 125           payroll deductions (see pages
              includes:                             of the Internal             7 and 8) to receive benefits
                                                    Revenue Code.               under the Plans.
              •     Eaton Corporation Health
                                                    The Health Care
                    Care Reimbursement                                          Benefits (reimbursement of
                    Account Plan                    Reimbursement               eligible expenses) are paid
                                                    Account Plan is a           from employee contributions
              •     Eaton Corporation
                                                    group health plan.          and Eaton's general assets.
                    Dependent Care
                                                    The Dependent               The DCRA is self-insured.
                    Reimbursement Account
                                                    Care
                    Plan (DCRA)
                                                    Reimbursement
                                                    Account Plan is a
                                                    dependent care plan
                                                    under Section 129
                                                    of the Internal
                                                    Revenue Code and
                                                    is not subject to
                                                    ERISA.
              Eaton Corporation                     Welfare plan                Except for the Adoption             599
              Employee Assistance                   offering group health       Benefits Plan, Wellness
              Program for U.S.                      benefits through the        Information and Tools
              Employees (also known as              Personal                    Program, Tobacco Cessation
              the Eaton Work/Life                   Counseling                  Program, and Health Center,
              Solutions Plan and                    Program, Eaton              the Work/Life Solutions Plan
              Adoption Benefits Plan),              Center On-site              is fully insured through a
              which includes:                       Health Center               contract with Beacon Health
              •     Employee Assistance             (Health Center) and         Options. The Company pays
                    Program                         the Tobacco                 the full cost of the insurance
                                                    Cessation Program;          for these insured programs.
              •     Eaton CenterOn-site
                                                    and group legal             The Company pays the full
                    Health Center
                                                    benefits through the        cost of the Adoption Benefits
              •     Wellness Information and        Legal Assistance            Plan, Wellness Information
                    Tools Program                   Program                     and Tools Program, Tobacco
              •     Tobacco Cessation                                           Cessation Program and
                    Program                                                     Health Center out of its
              •     Legal Assistance                                            general assets.
                    Program
              •     Adoption Benefits Plan
              Eaton Corporation                     Welfare plan                The STD Plan is self-insured.       596
              Disability Plan for U.S.              offering disability         Coverage is provided at no
              Employees, which                      benefits                    cost to eligible employees.
              includes:                                                         Benefits are paid by the
                                                                                Company from its general
              •     Short Term Disability
                                                                                assets.
                    Plan (STD Plan)
                                                                                The LTD Plan is self-insured.
              •     Long Term Disability Plan
                                                                                Benefits are funded by
                    (LTD Plan)
                                                                                employees and the Company,
                                                                                in whole or in part, from its
                                                                                general assets.



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                  Plan Name                     I    Plan Type          I    Plan Funding*                    I Plan
                                                                                                                Number
              Eaton Corporation                     Welfare plan            The Plans are fully insured         597
              Employee Life Insurance               offering life and       through a group insurance
              Plan for U.S. Employees,              accidental death        contract with Metropolitan Life
              which includes:                       and dismemberment       Insurance Company. MetLife
              •     Employee Life Insurance         benefits                reviews and pays claims.
                    Plan                                                    Premiums for the Company-
              •     Employee Accidental                                     paid Employee Life and
                    Death and                                               Accidental Death and
                    Dismemberment                                           Dismemberment Insurance
                    Insurance Plan                                          Plans are paid by the
                                                                            Company out of its general
              •     Spouse/Domestic Partner
                                                                            assets. Premiums for
                    Life Insurance Plan
                                                                            additional coverage under the
              •     Child Life Insurance Plan                               Employee Life and Accidental
              •     Spouse/Domestic Partner                                 Death and Dismemberment
                    Accidental Death and                                    Insurance Plans, and the
                    Dismemberment                                           Spouse/Domestic Partner and
                    Insurance Plan                                          Child Life and Accidental
              •     Child Accidental Death                                  Death and Dismemberment
                    ahd Dismemberment                                       Insurance Plans are paid
                    Insurance Plan                                          through employee
                                                                            contributions.

Plan Administrator
              Eaton Health and Welfare Administrative Committee
              c/o Eaton
              1000 Eaton Boulevard
              Cleveland, OH 44122
              Telephone number: 1-440-523-5000

Employer and Plan Sponsor
              The Employer and Plan Sponsor is:
              Eaton Corporation
              1000 Eaton Boulevard
              Cleveland, OH 44122
              Telephone number: 1-440-523-5000

Employer Number
              The Employer Identification Number is XX-XXXXXXX.




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Agent for Service of Legal Process
              The agent for service of legal process is:
              Senior Vice President and Secretary
              Eaton
              1000 Eaton Boulevard
              Cleveland, OH 44122
              Telephone number: 1-440-523-5000
              Service of legal process may also be made upon the Plan Administrator.
              For disputes arising under the Eaton Work/Life Solutions Plan (except for the Tobacco Cessation
              Program, Wellness Information and Tools, and Health Center), service of legal process may be made
              upon Beacon Health Options at One Towne Square #600, Southfield, Ml 48076.
              For disputes arising under the Life Insurance Plan insurance policy, service of legal process may be made
              upon Metropolitan Life Insurance Company at one of its local offices, or upon the supervisory official of the
              Insurance Department in the state in which you reside.

Type of Administration
              Eaton, as Plan Sponsor, has retained the services of Fidelity Employer Services Company, a division of
              Fidelity Investments Institutional Services Company, Inc., an independent contractor, to assist the Plan
              Administrator with certain administrative functions (other than claims administration) in connection with
              most benefits in the Eaton Plans. Fidelity Employer Services Company performs these services under the
              name "Eaton Service Center at Fidelity.
              The Health and Welfare Administrative Committee, as Plan Administrator, is responsible for certain
              administrative functions as described in this booklet and as required by ERISA. Claims for benefits are
              administered by the applicable claims administrators.
              The Health Savings Account is a trustee account administered by Fidelity Brokerage Services, LLC.
              Participation in an HSA is a taxpayer responsibility and you are strongly encouraged to consult your tax
              advisor before opening an HSA. You are also encouraged to review information available from the Internal
              Revenue Service (IRS) for taxpayers, which can be found on the IRS Web site at www.lRS.gov.
              Beacon Health Options administers the programs offered under the Work/Life Solutions Plan (except for
              the Tobacco Cessation Program, Wellness Information and Tools, and Health Center) under the terms of
              its contract with Eaton. ActiveHealth Management administers the Tobacco Cessation Program and
              Wellness Information and Tools under a separate contract with Eaton. Take Care Employer Solutions,
              LLC administers the Health Center under the terms of a separate contract with Eaton.
              The Life Insurance Plan is fully insured. Benefits are provided under a group insurance contract entered
              into between the Company and Metropolitan Life Insurance Company. Metropolitan Life Insurance
              Company is responsible for reviewing and paying claims.

No Contract of Employment
              The Eaton Plans and offer of enrollment options are not intended to be and may not be construed as
              constituting a contract or other arrangement between an employee and the Company to the effect that an
              employee will be employed for a specific period of time.




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Non-Assignment of Rights
              No benefit, right or interest of any person covered under any Eaton Plan is assignable. Nothing
              contained in the Plan or this booklet shall be construed to make the Plan or the Company liable for
              treatment or services.

Plan Amendment and Termination
              Although the Company's present intent is to continue the Plans described here indefinitely, you should be
              aware that the Company retains the right to substitute other coverage or change contributions, or to
              amend, change, modify or completely terminate the Plan and any programs or options under it, for any or
              all groups of employees at any time for any reason. Neither this booklet nor any other writing regarding
              the Plan or the Flexible Benefits Program grants or confers any vested or other rights to any employee,
              retiree, dependent or any other person for future benefits beyond covered expenses incurred while the
              applicable Plan, program or option is in effect.
              The Company may amend the provisions of any Eaton Plan at any time by written action of an officer of
              the Company or any individual designated in writing by that officer as authorized to take such action.
              Designees include (but are not limited to) the employees holding the following positions at the Company's
              World Headquarters: the "Vice President, Compensation and Benefits" and the "Vice President, Benefits."
              Amendment will be effective at the time designated in the amendment itself.
              The Company may discontinue or terminate any Eaton Plan, in whole or in part, at any time for any
              reason by written action of an officer of the Company. If an Eaton Plan is terminated, no future benefits
              will be paid from that Plan, except benefits for covered services received before the Plan's termination
              date or benefits for disabilities beginning before the plan's termination date.

Claims Administrators and Suppliers

               Benefit                  I    Claims Administrator                             I    Claims Filing Address
              Medical Expense               Anthem Blue Cross Blue Shield                         Claims filing:
              Benefits, including           85 Crystal Run Road                                   Anthem Blue Cross Blue Shield
              MH/SA                         Middletown, NY 10940                                  P.O. Box 105187
                                            1-866-EATON02                                         Atlanta, GA 30348
                                            ( 1-866-328-6602)                                     Appeals:
                                                                                                  Anthem Blue Cross Blue Shield
                                                                                                  Grievances and Appeals
                                                                                                  P.O. Box 105662
                                                                                                  Atlanta, GA 30348
                                                                                                  1-866-EATON02
                                                                                                  ( 1-866-328-6602)
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                                                                                         '{

                                                                                         P.O. Box 5076
                                                                                         Middletown, NY 10940-9076
                                                                                         1-866-EATON02
              Prescription Drug             Express Scripts                                       Express Scripts
              Program                       8111 Royal Ridge Parkway                              P.O. Box 14711
                                            Irving, TX 75063                                      Lexington, KY 40512
                                            1-800-792-9596                                        1-800-792-9596
              Active Health                 ActiveHealth Management                               NA
              Management                    3800 Golf Road
                                            Rolling Meadows, IL 60008
                                            1-877-489-9391
              Fidelity Investments          NA                                                    Fidelity Brokerage Services, LLC
              Brokerage Services,                                                                 900 Salem Street
              LLC                                                                                 Smithfield, RI 02917




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Eaton Summary Plan Description                                                                             Plan Administration




               Benefit                  I    Claims Administrator              I    Claims Filing Address
              Dental Plan                   For written inquiries:                 Claims filing and initial appeal:
                                            Delta Dental                           Delta Dental
                                            P.O. 30416                             P.O. 9085
                                            Lansing, Ml 48909                      Farmington Hills, Ml 48333-9085
                                            1-866-EATON03                          Second Appeal:
                                            (1-866-328-6603)                       Eaton Health and Welfare
                                                                                   Administrative Committee
                                                                                   c/o Eaton
                                                                                   1000 Eaton Boulevard
                                                                                   Cleveland, OH 44122
              Vision Plan                   EyeMed Vision Care LLC                 EyeMed Vision Care LLC
                                            ATTN: Vision Care Department           ATTN: Quality Assurance Department
                                            4000 Luxottica Place                   4000 Luxottica Place
                                            Mason, Ohio 45040                      Mason, Ohio 45040
                                            1-866-723-0513                         1-866-723-0513
              Eaton Corporation             Acclaris, Inc.                         Claims filing and initial appeal:
              Flexible Benefits                                                    Acclaris, Inc.
              Program, which                1-866-203-9358                         P.O. Box 25171
              includes:                                                            Lehigh Valley, PA 18002-5172
              •     Eaton Corporation                                              1-866-203-9358
                    Health Care                                                    Fax: 1-813-830-7900
                    Reimbursement                                                  Second Appeal:
                    Account Plan                                                   Eaton Health and Welfare
              •     Eaton Corporation                                              Administrative Committee
                    Dependent Care                                                 1000 Eaton Boulevard
                    Reimbursement                                                  Cleveland, OH 44122
                    Account Plan
              Counseling Program,           Beacon Health Options                  Beacon Health Options
              Legal/Financial               48651 Alpha Drive, Suite 150           48651 Alpha Drive, Suite 150
              Consultation,                 Wixom, Ml 48393-3442                   Wixom, Ml 48393-3442
              Concierge, Child and          1-800-531-7988                         1-800-531-7988
              Elder Care Services           www.achievesolutions.net               www.achievesolutions.net
              Wellness Information          Eaton Health and Welfare               Eaton Health and Welfare
              and Tools Program,            Administrative Committee               Administrative Committee
              Tobacco Cessation             1000 Eaton Boulevard                   1000 Eaton Boulevard
              Program, and Eaton            Cleveland, OH 44122                    Cleveland, OH 44122
              Center On-site Health         1-440-523-5000                         1-440-523-5000
              Center
              Adoption Benefits             Eaton Service Center at Fidelity       Eaton Service Center at Fidelity
              Plan                          1-866-EATON01                          1-866-EATON01
                                            (1-866-328-6601)                       (1-866-328-6601)
              Eaton Corporation             General Correspondence:                Initial appeal:
              Disability Plan, which        Sedgwick                               Sedgwick
              includes:                     P.O. Box 14449                         P.O. Box 1981
                                            Lexington, KY 40512-4449               Chicago, IL 60690
              •     Short Term
                    Disability Plan         1-866-869-638 7                        1-866-869-6387
                    (STD Plan)                                                     Second Appeal:
              •     Long Term                                                      Eaton Health and Welfare
                    Disability Plan                                                Administrative Committee
                    (LTD Plan)                                                     1000 Eaton Boulevard
                                                                                   Cleveland, OH 44122




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Eaton Summary Plan Description                                                                              Plan Administration




               Benefit                   I    Claims Administrator                  Claims Filing Address
              Eaton Corporation              Metropolitan Life Insurance          The life insurance and accidental
              Employee Life                  Company                              death and dismemberment plans are
              Insurance Plan for             One Madison Avenue                   insured under group policy number
              U.S. Employees,                New York, NY 10010                   27700-G issued to the Company by
              which includes:                                                     Metropolitan Life Insurance Company.
              • Employee Life                                                     Claims and Appeals Correspondence:
                  Insurance Plan                                                  Metropolitan Life Insurance Company
                                                                                  P.O. Box 6115
              • Employee                                                          Utica, NY 13504-6115
                  Accidental Death
                  and
                   Dismemberment
                   Insurance Plan
              • Spouse/Domestic
                   Partner Life
                  Insurance Plan
              • Child Life
                   Insurance Plan
              •     Spouse/Domestic
                    Partner Accidental
                    Death and
                    Dismemberment
                    Insurance Plan
              •     Child Accidental
                    Death and
                    Dismemberment
                    Insurance Plan
              Travel Assistance              AXA Assistance USA                    NA
              Plan                           Suite 1000
                                             122 S. Michigan Avenue
                                             Chicago, IL 60603
                                             1-800-454-3679 or call collect:
                                             1-312-935-3783

Other Third Party Administrators
              COBRA/Billing Services Administrator. The Eaton Service Center at Fidelity
              Telephone number: 1-866-EATON01 (1-866-328-6601)
              Qualified Medical Child Support Order (QMCSO) Administrator. QDRO Consultants Company
              Telephone number: 1-800-527-8481

Plan Year
              All Plan records are compiled on an annual basis from January 1 through December 31 -         the calendar
              year. The Plan Year is referred to as the "year" or the "calendar year'' in this booklet.

Alternate Payee Provision
              Under normal conditions, Eaton Medical, Dental and Vision Plans benefits are payable to you and can
              only be paid directly to another party upon signed authorization from you. If conditions exist under which a
              valid release or assignment cannot be obtained, the Plan may make payment to any individual or
              organization that has assumed the care or principal support for you and is equitably entitled to payment.
              The Plan must make payments to your separated/divorced spouse, state child support agencies or
              Medicaid agencies if required by a qualified medical child support order (QMCSO) or state Medicaid law.
              The Plan may also honor benefit assignments made prior to your death in relation to remaining benefits
              payable by the Plan.
              Any payment made by the Plan in accordance with this provision will fully release the Plan of its liability
              to you.


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Eaton Summary Plan Description                                                                               Plan Administration



Reliance on Documents and Information
              Information required by the Plan Administrator may be provided in any form or document that the Plan
              Administrator considers acceptable and reliable. The Plan Administrator relies on the information provided
              by you and your dependents seeking coverage when evaluating coverage and benefits under the Plan. All
              such information must be accurate, truthful and complete.
              The Plan Administrator is entitled to conclusively rely upon, and is protected for any action taken in
              good faith when relying upon, information you or others provide. Any act, practice or omission that
              constitutes fraud or any intentional misrepresentation of material fact may result in the denial of the
              claim, cancellation or rescission of coverage, or any other legal remedy available to the Plan.
              Inadvertent omissions or unintentional misrepresentations are not grounds for rescission of coverage.

No Waiver
              The failure of the Plan Administrator to enforce strictly any term or provision of this Plan will not be
              construed as a waiver of such term or provision. The Plan Administrator reserves the right to enforce
              strictly any term or provision of this Plan at any time.

Physician/Patient Relationship
              This Plan is not intended to disturb the relationship between a physician or other health care provider and
              the patient. Physicians and other health care providers are not agents or delegates of the employer, Plan
              Administrator or the Health Plan Claims Administrator. Nothing contained in this Plan requires you or your
              dependent to commence or continue medical treatment by a particular provider. Further, nothing in this
              Plan limits or otherwise restricts a physician's judgment with respect to the physician's ultimate
              responsibility for patient care in the provision of medical services to you or your dependent.

Intention of the Dental Plan to Be Grandfathered
              The Eaton Corporation Dental Plan (the Plan) believes the Plan is a "grandfathered health plan" under the
              Patient Protection and Affordable Care Act (the Affordable Care Act). As permitted by the Affordable Care
              Act, a grandfathered health plan can preserve certain basic health coverage that was already in effect
              when that law was enacted. Being a grandfathered health plan means that our dental plan may not
              include certain consumer protections of the Affordable Care Act that apply to other plans. However,
              grandfathered health plans must comply with certain other consumer protections in the Affordable Care
              Act, for example, the elimination of lifetime limits on benefits. It should be noted that the Plan does provide
              many of the benefits and protections required for non-grandfathered plans.
              Questions regarding which protections apply and which protections do not apply to a grandfathered health
              plan and what might cause a plan to change from grandfathered health plan status can be directed to the
              Plan Administrator at the Eaton Service Center at Fidelity 1-866-EATON01 (1-866-328-6601). You may
              also contact the Employee Benefits Security Administration, U.S. Department of Labor at 1-866-444-3272
              or www.dol.gov/ebsa/healthreform. This web site has a table summarizing which protections do and do
              not apply to grandfathered health plans.

USE AND DISCLOSURE OF PROTECTED HEALTH INFORMATION UNDER HIPAA
              The Health Insurance Portability and Accountability Act of 1996, as amended (HIPAA), is a federal law
              that requires health plans to protect the confidentiality of your private health information. Private health
              information, or protected health information, is referred to as "PHI." Your rights under HIPAA are
              described in the Plan's Notice of Privacy Practices. You can find the Notice along with Frequently Asked
              Questions in the Reference Library under the Health & Insurance tab on Fidelity NetBenefits. The Notice
              is also available from the Eaton Service Center at Fidelity.




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Eaton Summary Plan Description                                                                                Plan Administration



STATEMENT OF ERISA RIGHTS
              As a participant in the Eaton Plans, you are entitled to certain rights and protections under the Employee
              Retirement Income Security Act of 1974 (ERISA). ERISA provides that all Plan participants will be entitled to:

Receive Information About Your Plan and Benefits
              You are entitled to examine - at no charge - at the Plan Administrator's office and at other specified
              locations, all documents governing the Plan, including insurance contracts and collective bargaining
              agreements, if applicable. You may also examine at no charge a copy of the latest annual report (Form
              5500 Series) filed by the Plan with the U.S. Department of Labor and available at the Public Disclosure
              Room of the Employee Benefits Security Administration.
              You may obtain, upon written request to the Plan Administrator, copies of documents governing the
              operation of the Plan, including insurance contracts and collective bargaining agreements, if applicable,
              and copies of the latest annual report (Form 5500 Series) and updated Summary Plan Description. The
              Plan Administrator may make a reasonable charge for the copies.
              You are entitled to receive - at no charge - a summary of the Plan's annual financial report. The Plan
              Administrator is required by law to furnish each participant with a copy of the summary annual report.

Continue Group Health Plan Coverage
              You may continue health care coverage for yourself, your spouse or your dependents if you or your
              dependent(s) lose coverage under the Plan because of a qualifying event. You or your dependents may
              have to pay for such coverage. Review your Summary Plan Description and the documents governing the
              Plan on the rules of COBRA continuation coverage rights.
              Your group health plan or health insurance issuer should provide you with a certificate of creditable
              coverage- at no charge-when:
              •    You lose coverage under the Plan,
              •    You become entitled to elect COBRA continuation coverage, and/or
              •     Your COBRA continuation coverage ends.
              If you do not receive the certificate of creditable coverage, you must request the certificate within
              24 months of losing coverage.
              Having creditable coverage from another plan may reduce or eliminate any exclusionary periods of
              coverage for preexisting conditions under your group health plan. Without evidence of creditable
              coverage, you may be subject to a preexisting condition exclusion for 12 months (18 months for late
              enrollees) after you enroll in your coverage.

Prudent Actions by Plan Fiduciaries
              In addition to creating rights for Plan participants, ERISA imposes duties upon the people who are
              responsible for the operation of the employee benefit plan. The people who operate your Plan, called
              fiduciaries of the Plan, have a duty to do so prudently and in the interest of you and other Plan participants
              and beneficiaries. No one, including your employer, your union or any other person, may fire you or
              otherwise discriminate against you in any way to prevent you from obtaining your welfare benefit or
              exercising your rights under ERISA.




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Eaton Summary Plan Description                                                                               Plan Administration



Enforce Your Rights
              If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why
              this was done, to obtain copies of documents relating to the decision without charge and to appeal any
              denial, all within certain time schedules.
              Under ERISA, you can take steps to enforce the above rights. For example, you can file suit in a federal
              court if you:
              •    Request a copy of Plan documents or the latest annual report from the Plan and do not receive it
                   within 30 days. In such a case, the court may require the Plan Administrator to provide the materials
                   and pay you up to $110 a day until you receive the materials, unless the materials were not sent
                   because of reasons beyond the control of the Plan Administrator.
              •    Exhaust the claims procedures described in this Summary Plan Description and your claim for
                   benefits is denied or ignored, in whole or in part. (You may also file a claim in state court.)
              •    Disagree with the Plan's decision or lack thereof concerning the qualified status of a domestic
                   relations order or a medical child support order.
              •    Are discriminated against for asserting your rights. (You may also seek assistance from the
                   U.S. Department of Labor.)
              You may also seek assistance from the U.S. Department of Labor or file suit in a federal court if it should
              happen that the Plan fiduciaries misuse the Plan's money.
              The court will decide who should pay court costs and legal fees. If you are successful the court may order
              the person you have sued to pay these costs and fees. If you lose, the court may order you to pay these
              costs and fees, for example, if it finds your claim is frivolous.

Assistance with Your Questions
              If you have any questions about your Plan, you should contact the Plan Administrator.
              If you have any questions about this statement or about your rights under ERISA, or if you need
              assistance in obtaining documents from the Plan Administrator, you should contact:
              •    The nearest office of the Employee Benefits Security Administration, U.S. Department of Labor, listed
                   in your telephone directory; or
              •    The Division of Technical Assistance and Inquiries
                   Employee Benefits Security Administration
                   U.S. Department of Labor
                   200 Constitution Avenue N.W.
                   Washington, D.C. 20210
              You may also obtain certain publications about your rights and responsibilities under ERISA by calling the
              publications hotline of the Employee Benefits Security Administration.
              For more information about your rights under ERISA, including COBRA, the Health Insurance Portability
              and Accountability Act (HIPAA), and other laws affecting group health plans, contact the nearest Regional
              or District Office of the U.S. Department of Labor's Employee Benefits Security Administration (EBSA) in
              your area or visit the EBSA web site at www.dol.gov/ebsa or call their toll-free number at 1-866-444-3272.
              For more information about health insurance options available through a Health Insurance Marketplace,
              visit www.healthcare.gov. (Addresses and phone numbers of Regional and District EBSA Offices are
              available through EBSA's web site.)




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Eaton Summary Plan Description                                                                                Plan Administration



ERISA RIGHTS DO NOT APPLY TO CERTAIN PROGRAMS
              Your Health Savings Account is not an ERISA covered plan. As a result, Eaton has no fiduciary
              responsibility under ERISA with respect to the HSA, and claims with respect to the HSA are managed
              solely by Fidelity Investments.

              ActiveHealth programs and Expert Medical Opinion, as described on pages 43 and 44, are not subject
              to ERISA.

PLAN INTERPRETATION
              Benefits under the Eaton Plans will be paid only if the Plan Administrator and/or the appointed Claims
              Administrator decides that the applicant is entitled to them under the terms of the Plan. The Plan
              Administrator and/or the Claims Administrator has discretionary authority to determine eligibility for
              benefits and to construe any and all terms of the Plan, including but not limited to any disputed or doubtful
              terms. The Plan Administrator and/or Claims Administrator also has the power and discretion to determine
              all questions arising in connection with the administration, interpretation and application of the Plan. Any
              and all determinations by the Plan Administrator and/or Claims Administrator will be conclusive and
              binding on all persons, except to the extent reviewable by a court with jurisdiction under ERISA after
              giving effect to the time limits described in the "Claims Appeal Procedure" section of this booklet.

COLLECTIVE BARGAINING AGREEMENT
              If your employment is covered by a collective bargaining agreement that specifically allows for your
              participation in the Plans described in this booklet, your participation is subject to the terms and conditions
              of the collective bargaining agreement and the Plans.
              Participants and beneficiaries may obtain a complete list of the Plan's sponsoring organizations by writing
              to the Plan Administrator at the address shown under "Administration and Other Information - Plan
              Administrator."
              As a covered employee, you may obtain a copy of your respective collective bargaining agreement by
              writing to the Plan Administrator at the address shown under "Administration and Other Information -
              Plan Administrator." The Company may charge you a reasonable amount for the copy. As a covered
              employee, provided you give reasonable advance notice of your visit, you may also examine a copy of
              your respective collective bargaining agreement at Eaton at that same address or at the union office
              during normal business hours.
              Participants and beneficiaries may obtain a complete list of the Plan's sponsoring organizations by
              writing to the Plan Administrator at the address shown under "Administration and Other Information -
              Plan Administrator."




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            Printed in USA        1000 Eaton Boulevard   01/16
            January 2016          Cleveland, OH 44122    3. EA-H-364H.106
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FAX                                                                    EXHIBIT
                                                                           [?

             To: 6013261333
         Company:
             Fax: 6013251333
           Phone:


          From: e0072882
              Fax:
           Phone: + 1 440 523 5143
           E~mail: BonnieLGraff@Eaton.com



        NOTES:




                 Date and time of transmission: Thursday, February 01, 2018 2:22:08 PM
                 Number of pages Including this cover sheet: 19
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             Powering Business Worldwide
                                                                     Eaton - BeneHls Oepadmenl
                                                                     Eaton                         Fax
                                                                     1000 Eaton Blvd.
                                                                     Beachwood1 OH44122




      Dale            February 1. 2018                                Pages            18
      To              Daniel A. Webb, Esq,                           From       Bonnie Graff
      Fax             501.325.1333                                   Fax       440-523-3413
      Phone           501.3722400                                    Phone 440-523-5143
                                                                     Email bonnielgraff@eaton.com


      Subject         Kathy Blagg•s final level Long Term Disability appeal detennination letter. Paper
                      copy also 11ent via United Pai-eel Service.




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        Powering Business Worldwide

    February 1, 2017

    Daniel A. Webb, Esq.
    Attorney at Law
    425 West Capitol Avenue
    Suite 1586
    Little Rock, Arkansas 72201

    Re: Second Level Appeal of Long Term Disability Claim of Kathy Blagg -Claim Number
    B443001817-0001-02



    Dear Mr. Webb:

    The Eaton Corporation Health and Welfare Administrative Committee (the "Committee") has had
    the opportunity to review and consider the second level appeal (the "Appeal") you filed on behalf
    of youl' client, Kathy Blagg, seeking the reinstatement of long-term disability benefits under the
    Eaton Corporation Long Te1m Disability Plan (the "LTD Plan" or the "Plan").

    Procedural History

    The Administrative Record regm·ding your client's claim indicates that Ms. Blagg was employed
    as an Manufacturing Assembly Technician at the Eaton facility in Sem·cy, Arkansas. Upon
    review, the records show that she first started her employment with Eaton in Augt~st, 1992, and
    her first day of absence in connection with this benefits claim was on or around April 9, 2014. As
    of that date she was approved for disability benefits under the Eaton Corporation Sh01t Term
    Disability Plan ("STD Plan"). The sh01t term benefits as provided under the STD Plan were
    exhausted as of October 8, 2014, and your client was then transitioned onto the LTD Plan. Her
    claim for long-term disability benefits under the LTD Plan was initially approved on or around
    October 8, 2014.

    In a letter dated August 4, 2016, Sedgwick Claims Management Se~es, In£: ("Sedgwick'·'), the
    claims administrator for the LTD Plan determined that Ms. Blagg was no longer entitled to
    disability benefits under the LTD Plan for the period on or after the date of its letter -August 4,
    2016. In response to this denial decision, you filed a first-level appeal on behalf of your client
    contesting the denial of her long-term disability benefits under the Plan in a letter received by
    Sedgwick on or around February 1 2017. While conducting its review, you submitted a letter to
    Sedgwick dated March 1, 2017 seeldng to suspend the review in order to submit additional
    medical records in suppo1t of your client's appeal. In response to this request, Sedgwick
    suspended its review until March 21, 2017.
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    Once this suspension period expired, Sedgwick then completed its initial review of your client's
    appeal and, in a letter dated March 31, 2017, informed your client that the benefits denial decision
    under the LTD Plan was being upheld. This letter also advised your client that a second"lcvel
    appeal could be submitted within 180 days of such letter's receipt.

    After receipt of this first level denial, you submitted a letter to Sedgwick that was received on
    August 25, 2017. This letter indicated that you were filing a second level appeal on behalf of
    your client with the Committee. Subsequent to the filing of this second level appeal, you
    indicated in letters received by Sedgwick on or around September 15, 2017, October 24, 2017 and
    November 10, 2017, that you would be submitting additional medical information related to the
    claim. Sedgwick acknowledged those letters and approved additional time for you to submit
    additional medical documentation. The final extension to submitted additional infonnation
    expired on November 24, 2017 and the Committee then re-commenced its review. Upon re"
    commencing its review, the Committee had twenty-four (24) days remaining in its initial forty"
    five (45) period to review your claim. Thus, the initial deadline (without an extension) for
    maldng a decision on your client's second level appeal was December 18, 2017.

    On December 11, 2017, Sedgwick sent you a fo1ty-five (45) day extension letter stating the claim
    was still under review by the Committee and that additional time was need to finalize its review
    and that you and your client would receive a written response regarding your client's appeal by
    February 1, 2017.

    The entire claim file, including the documentation and infonnation that was submitted in support
    of your client's appeal, as well as the independent reviews provided by medical experts was given
    a "fresh look" by the Committee. As explained below, the Committee has now determined to
    uphold the denial of disability benefits under the terms of the LTD Plan.


    Applicable Plan Pl'ovisions

    Pursuant to the provisions of the LTD Plan, in order to be eligible for long-term disability
    benefits, your client must be covered under the Plan and:

               e   Have a covered disability as defined below;
              •    Be under the continuo~s care of a licensed health care practitioner; and
              •    Sign and return a copy of the Overpayment Reimbursement Agreement
                   provided by the Claims Administrator. Benefit payments are suspended
                   tmtil the Claims Administrator receives the form.
                                                  * **
              You are considered to have a covered disability (see "Disabilities the Plan
              Does Not Covered" below for certain exceptions) under the Plan if, you are
              unable to work as the result of an occupational or non"occupational illness or
              injury. The work you are 1mable to do is defined differently over the course of
              a disability. You will be considered disabled:
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            If During ...                     Your Disability Makes You ...
           Months 1 - 23, Including six      Totally and continuously unable to perform the essential duties
           months of short term disability   of your regular position or any suitable alternative position with
                                             the Company.
           Month 24 until you are no         Totally and continuously unable to engage in any occupation or
           longer disabled or retire         perform any work for compensation or profit for which you are,
                                             or may become, reasonably well fit by reason of education,
                                             training or experience - at Eaton or elsewhere.

                The Company, at its sole discretion, dete1mines the availability and suitability
                of altemative positions at Eaton.

                See page 13 7, Long Term Disability Plan Summary Plan Description, ~ffective
                January I, 2016 ("2016 ~TD SPD").

           Medical Information

           Objective findings of a disability are necessary to substantiate the period of time
           your health care practitioner indicates you are disabled. Objective :findings are
           those that can be observed by your health care practitioner through objective
           means, not from your description of the symptoms. Objective findings include:

            •   Physical examination fmdings (functional impairments/capacity);
            •   Diagnostic test results/imaging studies;
            •   Diagnoses;
            •   X-ray results;
            •   Observation of anatomical, physiological or psychological abnormalities; and
            •   Medications and/or treatment plan

                See page 143, Long Term Disability Plan Summary Plan Description, effective
                January 1, 2016 ("2016 LTD SPD").

    The Plan provides that Long Term Disability benefits will end when, among other events:
    • You no longer have a covered disability under the Plan, as dete1mined by the Claims
       Administrator;
    • The first day for which you are unable to provide satisfactory evidence of a cove.red
       disability;
           Seepage 141, 2016 LTDSPD.
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    The LTD Plan grants the Committee discl'etionary authority regarding the interpretation of the
    LTD Plan and states that disability benefits will be paid:

                   only if the Plan Administrator and/or the appointed Claims Administrator decides
                   that the applicant is entitled to them under the terms of the Plan. The Plan
                   Administrator and/or Claims Administrator has discretionary authority to
                   determine eligibility for benefits and to construe any and all tem1s of the Plan,
                   including but not limited to, any disputed or doubtful tenns. The Plan
                   Administrator and/or Claims Administrator also has the power and discretion to
                   determine all questions arising in connection with the administration, interpretation
                   and application of the Plan. Any and all determinations by the Plan Administrator
                   and/or Claims Administrator will be conclusive and binding on all persons, except
                   to the extent reviewable by a court with jurisdiction under ERISA after giving
                   effect to the time limits descried in the "Claims Appeal Procedure" section of this
                   booklet.
                   Seepage 168, 2016 LTDSPD.

    As set forth under in the SPD, the Committee is the "Plan Administrator" and Sedgwick is the
    "Claims Administrator'' with respect to the long tc1m disability benefits provided under the Plan.
    See page 163, 2016 LTD SPD.


    Reasons for Claim Denial and Application of the Plan

    After conducting a full and fair review, the Committee has determined that the submitted medical
    evidence is inadequate to support the approval of your client's appeal for reinstatement of long
    term disability benefits under the LTD Plan for the period on or after August 6, 2016. During this
    second level appeal, the submitted medical records, including the rep01ts and records from your
    client's treating physicians, were reviewed and analyzed by two independent physician reviewers
    who are members of an independent third-pruty medical review organization. In addition, the
    Committee also considered the results of the findings set forth in the initial medical reviews as
    conducted at the request of Sedbiwick. Further, the Committee reviewed and considered the
    following rep01ts in making its decision:

           (i)        Functional Capacity Examination - performed on March 2, 2016;
           (ii)       Independent Medical Examination - pe1formed on April 5, 2016 and follow-up
                      Report related to Independent Medical-dated June 8, 2016;
           (iii)      Transferable Skill Analysis - dated August 2, 2016; and
           (iv)       Labor Market Survey-- dated August 2, 2016.
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    One of the critical points with respect to your client's appeal relates to the shifting disability
    standard that is applicable to this claim, The applicable standard set forth under the LTD Plan for
    detennining whether an employee is disabled and entitled to benefits changes after 24 months of
    coverage,

    As noted in the Plan's Summary Plan Description, after 24 months ofreceiving benefits under the
    Plan (including 6 months of short-term disability benefits), an individual will only be deemed
    disabled if such person is:

               Totally and continuously unable to engage in any occupation or perform any
               work for compensation or profit for which you are, or may become, reasonably
               well fit by reason of education, training or experience - at Eaton or elsewhere.
               Seepage 137, 2016 LTDSPD.

    This is generally known as the "any occupation" disability standard and became the standard
    applicable to your client's claim for disability benefits under the LTD Plan for the period after
    April 8, 2016.

    The primary basis of your client's claim for the reinstatement of long term disability benefits
    relates to various complaints of shoulder, neck and extremity pain along with migraine headaches.
    The submitted medical records set forth the following health issues: bone contusion of right heel,
    chronic stress, right lumbosacral disc degeneration, low back pain with right radiculopathy LS-S 1
    nerve root, degenerative facet disease cervical spine, buttocld thigh pain, abdominal pain in the
    right side of abdomen, plantar fasciitis, gastroesophageal reflux disease, gas and bloating, right
    hip trochanteric bursitis/ai1hritis and systolic hypertension. The Committee also notes that your
    client has been prescribed certain prescription medications and over-the-counter medications to
    address her medical issues, including Centrum Silver, Famotidine, Gaviscon, HM Vitamin D3,
    Potassium Chloride, Gabapentin, Robaxin, Sertraline HCI, TIZANidine HCl, Toporol XL,
    Tylenol with Codeine.

    In early 2016, as paii of its ongoing review of your client's entitlement to long term disability
    benefits, Sedgwick directed Ms. Blagg to undergo a functional capacity evaluation with an
    independent evaluator and to also undergo an independent medical examination with an
    independent physician,

    A Functional Capacity Evaluation (''FCff') was pe1formed on March 2, 2016 by Stuart Jones (a
    physical therapist), to detennine the functional abilities of your client related to her various
    complaints of back, neck, shoulder, mm, foot and hip pain. The FCE Report as prepm·ed by
    Therapist Jones noted that Ms. Blagg demonstrated the following:

           Material handling - 0 lbs. from floor to waist height; 5 lbs. from 12-inch from floor to
           waist height; 5 lbs. from waist to shoulder height; 0 lbs, from waist to overhead
           height.
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    According to the FCE Report, an unreliable effort was put fo1th by your client, with only 26 of 55
    statistical consistency measures within expected limits. According to Therapist Jones, Ms. Blagg
    did not put fo1ih consistent effo1t during the evaluation. For example, Ms. Blagg failed to exert
    enough force to register on the dynamometer which has a minimum force of 4 lbs. This is not
    consistent with her previously demonstrated ability to hold a 10 lb. box stationary at waist level
    during dynamic lifting tests as conducted during the same FCE.

    Ms. Blagg failed all horizontal strength change tests given. Notably, during active range of
    motion ("AROM") testing she demonstrated that she was not able to move forward more than 31
    degrees. However, dlll'ing functional aspects of testing, she was observed repeatedly assuming a
    position with her upper body parallel to the floor. She also bad numerous signs of non-organic
    symptoms when she participated in a series of tests to identify the presence of non-physiological
    signs of pain. It was noted that she produced positive results with respect to this series of tests.
    Therapist Jones commented that Ms. Blagg did not demonstrate the ability to work at any
    Physical Demand Level over the course of an 8 hour workday and produced very inconsistent and
    unreliable results, so according to the FCE Report the actual physical abilities of Ms. Blagg
    remain unknown.

    In addition to the FCE, an Independent Medical Exam ("IME'') was performed by Thomas
    Rooney, M.D. on April 5, 2016. Dr. Rooney is unconnected and independent from the LTD Plan
    and the Committee. In his !ME Report, Dr. Rooney summarized his review of the medical
    records as submitted with the claim, including the notes and reports as prepared by your client's
    treating physicians. The IME Report also Slllmnarizes the findings and opinions set forth in the
    FCE Report prepared by Therapist Jones.

    Dr. Rooney noted that Ms. Blagg was initially seen by Dr. Berkheimer for pain with respect to her
    "entire right foot." She had been off work when she saw Dr. Berkheimer on April 8, 2014. The
    submitted medical records indicate that your client had shots in her right foot for what was
    thought to be plantar fasciitis and bunions. She decided to see another doctor, Dr. Jesse Burks in
    May 2015. An MRI of her foot performed around this time showed that Ms. Blagg had bone
    marrow edema. As a result of this MRJ, she was placed in a cast from June 2015 to November
    2015 and prescribed anti-inflammatory medication. However, Ms. Blagg was unable to talce the
    anti-inflammatory medication because of cc1tain GI problems.

    The medical records as reviewed by Dr. Rooney with respect to the IME indicate that Ms. Blagg
    started having pain in her right hip and leg while in the cast with the pain going into the big toe.
    He noted that another treating physician, Dr. Hefley, injected the trochanteric bursa three times
    without benefit and subsequently refened your client to Dr. Brad Thomas. The last injection was
    pe1formed in January 2016. The medical records indicated that these injections were not
    beneficial. Ms. Blagg was then placed on Flexeril and prednisone. X-rays were done which
    showed inflammation. The IME Report notes that the medical records indicate that Ms. Blagg's
    major pain is located in her back and outer aspect of her right hip. She can walk for about 30 to
    45 minutes; however, she informed Dr. Rooney that she cam1ot pick things up off the floor and
    uses a dust pan to pick up things she has dropped.
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    After review of the medical records and FCE Report, Dr. Rooney then conducted a physical
    examination of Ms. Blagg. The IME Reports notes that Ms. Blagg showed a slight antalgic gait
    on the right side, but her overall balance was good. Dr. Rooney noted that she had difficulty with
    the heel/toe stand and that she is unable to squat down. However, on standing erect, the IME
    Report notes that Ms. Blagg:

           Has normal curvatures in the cervical, thoracic and lumbar spines. In the cervical
           spine, she rotates 50 degrees in either direction, extension is 40 degrees, flexion is
           full. There is no spasm. She does have tenderness in the right paravertcbral muscles
           and trapezius, and both shoulders. There is full range of motion in both shoulders,
           but pain with anything above 90 degrees. There is no definite weakness in the upper
           extremities, except her grip strength is 2-kilograms on either side. If she combines
           hands, she can giip to 3-kilograms.

           The IME Report also notes that Ms. Blagg had complaints of pain in the lumbosacral area
           on the 1ight side with attempted motion and there is "generalized tenderness throughout
           the lumber spine." However, Dr. Rooney noted that no spasm occurred and the "iliac
           crests are level." The IME Rep01t states that Ms. Blagg has full range of motion in her
           hips, knees and ankles and that she possesses full motion in both of her feet, Dr. Rooney
           also noted that your client has mild tendemess about her heel on the right side; however,
           it is not well-localized and there are good pedal pulses present. The IME Report does
           recognize the following:

           In the sitting position, straight leg raising on either side produces severe low back
           and leg pain, aggravated by popliteal compression and plantarflexion of either ankle.
           She has similar strongly positive straight leg raising supine, which again is made
           worse by hip flexion and plantarflexion of the feet. She has full painless motion in
           both hips.

    Even with consideration of these pain issues related to ce1tain actions while sitting, Dr. Rooney
    did not find that these issues would rise to the level to support a disability finding. After review
    of the medical records, including the MRI images, and conducting his physical examination of
    your client, the IME Report as completed by Dr. Rooney states that he found no reason "why Ms.
    Blagg would be unable to perfonn her normal job responsibilities."

    After review of the IME Report, additional infimnation was requested from Dr. Rooney related to
    the same. Specifically, a series of additional inquiries were presented to Dr. Rooney regarding his
    IME Report and in a correspondence dated June 8, 2016, he provided the following responses:

           1.     Pain on the entire right side of her body from her neck to her toes, starting in
           2013 as she was moving a TV and pain occurred in her back and right foot.
           2.     Diagnosis is multilevel cervical and lun1bar degenerative disc disease, which
           she had prior to her h~ury.
           3.      The only objective findings are those on MRis and x-rays. Her observable
           subjective complaints do not correlate with her objective findings.
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            4.     She does have mild to moderate impairment because of the degenerative
            spinal problems, which would inte1ferc with her ability to do repeated lifting and
            bending, and repeated rotational movements in the cervical spine.
            5.       Identify level of functionality. This was attempted on an FCE done on
            03/02/2016, which showed an unreliable effort put forth making the whole exam
            invalid.
           6.      The behaviors exhibited by the claimant are not consistent with the records
           and complaints. Her basic objective findings again are multilevel degenerative disc
           disease cervical and lumbar.
            7.     In an 8 hour day she can sit for 2 hours before taking a break. The total
          · length of time she can sit in a day would be 6 hours. She can stand a full 8 hours
            taking a break every couple of hours to do range of motion exercises. The total
            length of time she can stand in a day would be 6 hours. There is no limit to the
            mnount of walking she can do.
                   a)      She has no restrictions of limitations of the upper extremities,
                           overreaching, pulling, and lifting.
                   b)      There arc no restrictions on her use of the lower extremities other
                           than those mentioned above. She will have limitations on
                           repetitive movements, such as bending, stooping, crawling and
                           climbing due to the degenerative changes in her spine.

    In addition to the FCE and IME, a Transferable Skills Analysis ('1TSA") was also pe1fo1med at
    the request of Sedgwick. This TSA Report was dated August 2, 2016 and described Ms. Blagg's
    employment history, diagnoses and the conclusions and opinions set forth in both the FCE and
    IME repo1is. The TSA notes that Ms. Blagg has "mild to moderate impairment" because of
    degenerative spinal problems which would interfere with her ability to do repeated lifting and
    bending, and •repeated rotational movements in the cervical spine. The TSA Repo1t notes that in
    an 8 hour day, Ms. Blagg can sit for 2 hours before taking a break for a total of 6 hours/day. She
    can stand a full 8 hours taking a brealc every couple of hours to do range of motion exercises.
    Total length of time she can stand in a day would be 6 hours. However, there is no limit to the
    amount of walking she can do. She has no restrictions or limitations of the upper extremities,
    overreaching, pulling and lifting. However, the TSA Report noted that she will have limitations
    on repetitive movements, such as bending, stooping, crawling, and climbing due to the
    degenerative changes in her spine.

    The TSA Report noted that the FCE of March 2, 2016 was considered invalid by the evaluator
    because of lack of effol1 on the part of Ms. Blagg. However, the FCE Report did demonstrate her
    ability to occasional Iift/can-y ofup to 5 lbs. She also demonstrated the ability to frequently walk,
    and to perform tasks related to handling, fingering and sitting. She demonstrated the ability to
    occasionally stoop, crouch, climb stairs, bilateral reaching immediate and right overhead, and
    stand.
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    Based upon these findings, the TSA Report notes that the following possible employment options
    exist for your client:

           Assembler, Small Products; Receptionist; Telephone Operator; Security Guard;
           Inf01mation Clerk; Order Clerk; Telephone Solicitor; Cashier.

    In addition to a TSA, a Labor Market. Survey ("LMS") was also conducted. The LMS Report was
    also dated August 2, 2016. This LMS Repo1t concluded that there appears to be a reasonable and
    stable labor market for Ms. Blagg in the Searcy, AR area considering her education, work history
    and physical limitations outlined in the IME report of Dr. Thomas Rooney.

    In addition to the IME, FCE, TSA and LMS, all the submitted medical records were then sent to
    two (2) independent medical reviewers affiliated with the Medical Review Institute of America,
    Inc. ("MRioA"). The MRioA reviewers were unconnected to the previous medical reviews as
    pe1fo1med by Dane Street and these reviewers arc also independent from both the LTD Plan and
    the Committee.

    Specifically, your client's entire medical file, along with the FCE, IME, TSA and LMS Reports,
    were submitted to the following independent medical physicians for review:

           (i)    Simon Anthony Salerno, MD. - Board Certified by the American Board of
                  Neurological Surgery in General Neurological Surgery. Dr. Salerno has
                  been in active practice since 2000; and

           (ii)   William Tontz, Jr., MD. - Board Certified by the American Board of
                  Orthopaedic Surgery in General Orthopaedic Surgery and has completed a
                  Fellowship in spine surgery. Dr. Tontz has been in active practice since
                  1999.

    In conducting his review, Dr. Salemo examined the administrative documents and medical
    information as provided with your client's disability appeal. Upon review of the submitted
    medical records, Dr. Salento noted that the claimant is a 67 year old female who presented with
    back and right lower extremity pain and complains of numbness of the right big toe. The report
    prepared by Dr. Salemo notes that Ms. Blagg was initially evaluated on January 22, 2015 by Dr.
    Thomas. Dr. Thomas noted back pain with radiation to the right lower extremity. A neurologic
    examination was found to be non-focal. An MRI did not reveal the presence of neural
    impingement; however, an electromyography ("EMG") revealed evidence of right L5
    radiculopathy and Dr. Thomas performed several selective nerve blocks at LS,

    The report also notes that a CT myelogram was performed on September 14, 2015 and revealed
    the absence of significant central compression, or nerve root cutoff. On June 28, 2016, Dr.
    Thomas noted a non-focal physical examination with exception of decreased flexibility of the
    right lower extremity. An MRI of the lumbar spine reportedly revealed mild degenerative disc
    disease without focal stenosis. The claimant was then referred to Dr. Rosenzweig. On October
    31, 2016, Dr. Rosenzweig noted 75% pain relief with the sacroiliac (SI) joint and right
    trochantedc bursa injection.
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    In his report, Dr. Salerno noted that Ms. Blagg has multiple axial and extremity complaints and
    had a non-focal examination. Imaging revealed mild degenerative findings of the lumbar spine.
    Further, based on the IME Repo1i completed by Dr. Rooney, the claimant's impairments are as
    follows: sit for 2 hours at a time for a total of 6 hours, stand for 6 hours, and no limit to walking.
    Dr. Salerno pointed out that there are no upper extremity restrictions noted, including
    overreaching, pulling, and lifting in the IME Report. Fmiher, there is no objective evidence that
    claimant is unable to perform a job.

    Dr. Salemo noted that the examinations conducted by multiple medical providers have been non-
    focal with imaging revealing mild degenerative findings. Fmiher, the FCE was found to be
    unreliable due to submaximal effort ·of the claimant during the evaluation. Dr. Salemo pointed
    out that the signs and symptoms one would expect to see, for these health conditions, that would
    prevent someone from performing any occupation would include:

           objective neurological findings such as myelopathy and severe motor or sensory
           deficits. In addition, the claimant would have significant gait abnormality or upper
           extremity impairment to prevent someone from performing any occupation.

    In his rep011, Dr. Salerno noted that these symptoms were not present with respect to the
    submitted medical information.                                                                      ·

    Further, Dr. Salerno noted that Ms, Blagg takes multiple medications, including muscle relaxants
    and opiates. 'Therefore, certain work could be precluded with concomitant use of opiates and
    muscle relaxants due to possible alteration of sensorium, however there are no side effects noted
    in the medical record.

    In his repmi, Dr. Salemo noted that the IME performed by Dr. Rooney indicate that mild
    functional impairments exist. However, in his professional medical opinion, there was
    insufficient objective medical evidence to support a finding that Ms. Blagg is unable to pe1form
    the duties of any job position.

    The second independent medical review as conducted on behalf of the Committee was performed
    by Dr. William Tontz. Dr. Tontz was also provided with the entire claims appeal file. In his
    report, Dr. Tontz notes the claimant is a 67 year old female with low back pain radiating to the
    hip. A medical report from January 22, 2015 discloses the claimant has tried chiropractic care,
    epidural steroid injections, antiwinflammat01ies and muscle relaxers. The examination notes good
    strength in the bilateral upper and lower extremities with a limp associated with the right leg. The
    examination notes from September 6, 2017 demonstrates chronic right heel pain. Further, office
    reports from September 20, 2015 demonstrates good strength throughout and normal reflexes are
    noted. An MRI of the lumbar spine demonstrates no significant neural impingement.
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    In his report to the Cmmnittee, Dr. Tontz states that based on the available medical information
    and records, there are no functional impairments that would affect the patient's ability to "pe1form
    any occupation from August 6, 2016 to present (or any portion of the review period)." There is
    no part of the medical evidence that objectively documents that the patient is unable to perform
    the responsibilities of any job position.

    The IME Repo1t notes good strength in the bilateral upper and lower extremities with a limp on
    the right leg. The office notes from September 20, 2015 demonstrates good strength throughout.
    In addition, the submitted medical records illustrate normal reflexes. Further, an MRI of the
    lumbar spine demonstrates no significant neural impingement.

     Further, in his report to the Committee, Dr. Tontz noted that the expected signs and symptoms
     that would prevent someone from pe1forming the duties of any job position would be "atrophy,
     profound weakness or joint contractures which are not present in the records." Further, Dr. Tontz
     noted that there is no evidence of mind altering side effects of any medication that would suppo1t
     a finding that Ms. Blagg is unable to perform any occupation and there is no documentation to
   . support a finding that she is experiencing any side effects from the prescription medication.

    Thus, Dr. Tontz concluded there is no clear clinical evidence of radiculopathy or imaging
    evidence of spinal instability. Ms. Blagg has chronic subjective pain, but there is no clear
    evidence of functional limitations to support medically appropriate reshictions. In the opinion of
    Dr. Tontz, there is insufficient medical evidence to support a disability finding in this case.

    Because (1) an independent medical examination concluded that Ms. Blagg is not restricted from
    pe1forming the requirements of her job; (2) a transferable skills analysis concluded that Ms. Blagg
    would be capable of performing other jobs; (3) a labor·market study concluded that qualifying
    jobs exist in Ms. Blagg's geographic region; and (4) two independent medical reviewers
    concluded that the medicals records contain no objective evidence that Ms. Blagg is disabled
    under the "any occupation" standard, the Committee has determined that in accordance with the
    "any occupation" disability definition as set fo1th under the 2016 LTD SPD (See page
    13 7, 2016 LTD SPD) your client is not disabled under the terms of the LTD Plan for any time
    periods on or after August 6, 2016. Thus, the Committee hereby upholds the denial of your
    client's claim for long term disability benefits under the Plan.



    Additional Information

    Pursuant to Benefit Determination and Claims Appeal Procedure for the Plan, the final review has
    been a "fresh" look, without deference to any prior denial decision. In addition, the final review
    was conducted by persons not involved in the prior denial decision, and who are not a subordinate
    of the prior decision maker.
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    You are entitled to receive, upon written request and free of charge, any documents, records and
    other information that you have not yet received and that were relied upon in making the benefit
    dete1mination, or that were submitted, considered or generated in the course of making the benefit
    detennination, or that demonstrate compliance with the Plan claims processing administrative
    procedure.

    This review is the last and final review of your client's claim for long term disability benefits
    under the procedures adopted by the Plan. Your client has the right to pursue a civil action under
    Section 502 of Employee Retirement Income Security Act, 29 U.S.C. §1132. A civil action must
    be brought within one (1) year from the date of the letter.

    The review of the claim applied the provisions of the Plan, including the provisions of the
    applicable LTD SPD, as well as the facts and medical reports and information included in the
    administrative record of the claim. Other than the documents refe11·ed to in the letter, no other
    internal rule, guideline, protocol or other similar crite1ion was relied upon in making the
    dete1mination.



    On Behalf of the EATON CORPORATION HEALTH AND WELFARE
    ADMINISTRATIVE COMMIT'fEE as Plan Administrator
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     Eaton Summary Plan Description                                                                              Long Term Olsablllty Plan



     DISABILITIES THE PLAN COVERS
                  The Long Term Disability Plan provides you with continuing income if a covered disability prevents you
                  from working for longer than 26 weeks.
                  To be eligible for LTD benefits, you must be covered by the Plan and:
                  •      Have a covered disability as defined below;
                  •      Be under the continuous care of a licensed health care practitioner; and
                  •      Sign and return a copy of the Overpayment Reimbursement Agreement provided by the Claims
                         Administrator. Benefit payments are suspended until the Claims Administrator receives this form.
                  For a physical disability, the term "health care practitioner'' means a fully licensed Doctor of Medicine
                  (M.D.), Doctor of Osteopathy (D.O.), Dental Surgery (D.D.S.), Doctor of Podiatry Medicine (D.P.M.),
                  Doctor of Chiropractic (D.C.), Psychologist, Physician's Assistant (P.A.), Nurse Practitioner (N.P .) or
                  Certified Nurse Midwife (C.N.M.).
                  If mental illness or alcohol or chemical dependency keeps you from working, you must be receiving
                  continuous care from a psychiatrist or licensed psychologist. For alcohol or chemical dependency, you
                  must be receiving treatment in an accredited residential or outpatient substance abuse treatment
                  facility. Your psychiatrist or licensed psychologist must verify your disability to the satisfaction of the
                  Claims Administrator.

    Covered Disability
                  You are considered to have a covered disability (see "Disabilities the Plan Does Not Cover''
                  below for exceptions) under the Plan if you are unable to work as the result of an occupational or
                  non-occupational illness or injury. The work you are unable to do is defined differently over the course
                  of a disability. You will be considered disabled:

                       If During...                      I Your Disability Makes You ...
                      Months 1 - 23, including six         Totally and continuously unable to perform the essential duties
                      months of short term disability      of your regular position or any suitable alternative position with
                                                           the Company.                                                  ·
                      Month 24 until you are no            Totally and continuously unable lo engage in any occupation or
                      longer disabled or retire            perform any work for compensation or profit for which you are,
                                                           or may become, reasonably well fit by reason of education,
                                                           training or experience - at Eaton or elsewhere.


                  The Company, at Its sole discretion, determines the availability and suitability of alternative positions
                  at Eaton.

    Disabilities the Plan Does Not Cover
                  The Plan does not pay benefits If your disability is the result of:
                  •      Attempted suicide or intentlonally self-Inflicted injury, while sane or insane;
                  •      Participation in (or as a consequence of prior participatlon In) the commission of a felony;
                  •      Any act of war, declared or undeclared; service in the armed forces of any country; or performing
                         police duties as a member of any military organization;
                  •      Cosmetic procedures. However, the Plan will pay disability benefits related to reconstruclive surgery
                         following a mastectomy; surgery the Medical Plan determines to be medically necessary to correct
                         damage caused by an accident, Injury or congenital defect; or complications that prevent your return
                         to work within the normal recovery period for a cosmetic surgery procedure; or
                  •     A preexisting condition, or related to a preexisting condition, if the disability starts within the 12-monlh
                        period after the dale your long term disability coverage becomes effective.




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    Eaton Summary Plan Description                                                                          Long Term Disability Plan



    When Long Term Dlsablllty Benefits End
                 If you have a covered disability and are receiving long term disability benefits, your benefits end when the
                 earliest of the following events occurs:
                 •     You no longer have a covered disability under the Plan, as determined by the Claims Administrator;
                 •     The Company, at its sole discretion, offers you - at your pre-disability base pay - employment
                       that accommodates any medical restrictions your health care practitioner orders;
                 •     The first day for which you are unable to provide satisfactory evidence of a covered disability;
                 •     You do not follow the treatment plan ordered by your health care praclilioner;
                 •     You fail to cooperate with a scheduled independent medical examination (IME) or functional capacity
                       evaluation (FCE);
                 •     You begin work for wage or profit with any employer or through self-employment, unless the work is
                       rehabilitative employment {see below) approved by the Claims Administrator;
                 •     The applicable period of benefit payments ends based on your age (see chart on page 140);
                 •     You.complete the vocational rehabilitation program developed for you, or you decline to participate in
                       the program or fail to complete It;
                 •     You are incarcerated;
                 •     You die; or
                 •     The Plan terminates.
                 You cannot substitute holiday pay or vacation pay for payment of disability benefit_s.

    Modified Duty Employment

                 While you are receiving disability benefits, it may be determined that you could return to work In your
                 regular job if your duties were modified to accommodate your current health limitations. Such a
                 determination is made by your health care provider or a health care provider selected by the Company or
                 Claims Administrator. The Claims Administrator will work with you and your work location to determine if
                 the suggested modifications can be reasonably accommodated. Your benefits end if you do not accept
                 modified duty employment that has been designed for you.
                 In modified duty employment, you work at your regular job with either restrictions on the work you do or a
                 reduction in the number of hours you work. The Company does not create positions for the purpose of
                 modified duty employment. Any permanent Job restrictions are analyzed In accordance with the Americans
                 with Disabilities Act.
                 You receive your regular pay while working in modified duty employment. Modified duty employment may
                 last up to 90 days. After 90 days, you must return lo your regular job, go back on disability or receive an
                 extension that has been approved by the Claims Administrator, Plan Administrator and Company.

    Rehabilitative Employment During Disability
                 If you are eligible to receive LTD benefits but believe that you may be able to return to active work either
                 with another employer or in a self-employed arrangement, you may request approval for a rehabilitative
                 employment period.
                 If approved, you wlll be eligible for long term disability benefits for up to a three-month period of
                 rehabilitative employment. The LTD benefit you would otherwise receive is reduced by 50% of the gross
                 income you earn from rehabilitative employment.
                 You may request additional three-month periods of rehabilitative employment, up to a maximum period of
                 24 months for any one disability.
                 Contact the Claims Administrator for an application and addillonal Information.




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    Eaton Summary Plan Description                                                                           Long Term Dlsablllty Plan



    How Payments Are Made
                 Long term disability benefits are paid monthly. Benefits are prorated for any period of disability lasting less
                 than a month.
                 If amounts from another source for which the Plan reduces benefits are paid to you in a lump sum, the
                 Cl alms Administrator considers those benefits as if they were paid In monthly Installments - prorated
                 over the period the lump sum was intended to cover.

    Medical lnfom1ation
                 Objective findings of a disability are necessary to substantiate the period oftlme your health care
                 practitioner indicates you are disabled. Objective findings are those that can be observed by your
                 health care practitioner through objective means, not from your description of the symptoms. Objective
                 findings include:
                 •     Physical examination findings (functional Impairments/capacity);
                 •     Diagnostic test results/imaging studies;
                 •     Diagnoses;
                 •     X-ray results;
                 •     Observation of anatomical, physiological or psychological abnormalities; and
                 •     Medications and/or treatment plan.

    Requirement to Update Medical Information
                 If your claim is approved by the Claims Administrator, your health care practitioner will periodically be
                 requested to submit updated medical Information regarding your continuing disability. Payments will end if
                 information required to revalidate your claim is not received within 30 days of the Initial request. You are
                 responsible for the expense Involved In obtaining updated medical Information regarding your disability.
                 The Claims Administrator may require you, from time to time, to undergo an independent medical
                 examination (IME) and/or a functional capacity evaluation (FCE). If you do not cooperate with this request
                 (for example, you fail to keep a scheduled appointment), your benefits will end. If the Claims Administrator
                 requests that you undergo an independent medical examination and/or a functional capacity test, the
                 examination is made at the Company's expense.




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    Eaton Summary Plan D&sclipUon                                                                         Plan Administration



                   Benefit               I    Claims Administrator
                                             For written Inquiries:
                                                                                I Claims
                                                                                   Claims Filing Address
                                                                                         Hling and initial appeal:
                 Dental Plan
                                             Delta Dental                        Delta Dental
                                             P.O. 30416                          P.O. 9085
                                             Lansing, Ml 48909                   Farmington HIiis, Ml 48333-9085
                                             1-866-EATON03                       Second Appeal:
                                             (1-866-328-6603)                    Eaton Health and Welfare
                                                                                 Administrative Committee
                                                                                 c/o Eaton
                                                                                 1000 Eaton Boulevard
                                                                                 Cleveland, OH 44122
                 Vision Plan                 EyeMed Vision Care LLC              EyeMed Vision Care LLC
                                             ATTN: Vision Care Department        ATTN: Quality Assurance Department
                                             4000 Luxottica Place                4000 Luxottica Place
                                             Mason, Ohio 45040                   Mason, Ohio 45040
                                             1-866-723-0513                      1-866-723-0513
                 Eaton Corporation           Acclaris, Inc.                      Claims flllng and Initial appeal:
                 Flexible Benefits                                               Acclarls, Inc.
                 Program, which              1-866-203-9358                      P.O. Box25171
                 includes:                                                       Lehigh Valley, PA 18002-5172
                 • Eaton Corporation                                             1-866-203-9358
                      Health Care                                                Fax: 1-813-830-7900
                      Reimbursement                                              Second Appeal:
                      Account Plan                                               Eaton Health and Welfare
                 • Eaton Corporation                                             Administrative Committee
                      Dependent Care                                             1000 Eaton Boulevard
                      Reimbursement                                              Cleveland, OH 44122
                      Account Plan
                 Counseling Program,         Beacon Health Options               Beacon Health Options
                 Legal/Financial             48651 Alpha Drive, Sulle 150        48651 Alpha Drive, Suite 150
                 Consultation,               Wixom, Ml 48393-3442                Wixom, Ml 48393-3442
                 Concierge, Child and        1-800-531-7988                      1-800-531-7988
                 Elder Care Services         www.51cblevesolutions.net           www,acbievesoly!io• s,net
                 Wellness Information    Eaton Health and Welfare                Eaton Health and Welfare
                 and Tools Program,      Administrative Committee                Administrative Committee
                 Tobacco Cessation       1000 Eaton Boulevard                    1000 Eaton Boulevard
                 Program, and Eaton      Cleveland, OH 44122                     Cleveland, OH 44122
                 Center On-site Health   1-440-523-5000                          1-440-523-5000
                 Center
                Adoption Benefits            Eaton Service Center at Fidelity    Eaton Service Center at Fidelity
                Plan                         1-866-EATON01                       1-866-EATON01
                                             (1-866-328-6601)                    (1-866-328-6601)
                Eaton Corporation            General Correspondence:             Initial appeal:
                Disability Plan, which       Sedgwick                            Sedgwick
                includes:                    P.O. Box 14449                      P.O. Box 1981
                                             Lexington, KY 40512-4449            Chicago, IL 60690
                • Short Term
                     Disability Plan         1-866-869-6387                      1-866-869-6387
                     (STD Plan)                                                  Second Appeal:
                • Long Term                                                      Eaton Health and Welfare
                     Disability Plan                                             Administrative Committee
                     (LTD Plan)                                                  1000 Eaton Boulevard
                                                                                 Cleveland, OH 44122




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    Eaton Summary Plan Description                                                                               Plan Admlnlstrallon



    ERISA RIGHTS DO NOT APPLY TO CERTAIN PROGRAMS
                 Your Health Savings Account Is not an ERISA covered plan. As a result, Eaton has no fiduciary
                 responsibility under ERISA with respect to the HSA, and claims with respect to the HSA are managed
                 solely by Fidelity Investments.

                 ActlveHealth programs and Expert Medical Opinion, as described on pages 43 and 44, are not subject
                 to ERISA.

    PLAN INTERPRETATION
                 Benefits under the Eaton Plans will be paid only if the Plan Administrator and/or the appointed Claims
                 Administrator decides that the applicant is entitled to them under the terms of the Plan. The Plan
                 Administrator and/or the Claims Administrator has discretionary authority to determine eligibility for
                 benefits and to construe any and all terms of the Plan, including but not limited to any disputed or doubtful
                 terms. The Plan Administrator and/or Claims Administrator also has the power and discretion to determine
                 all questions arising in connection with the administration, interpretation and application of the Plan. Any
                 and all determinations by the Plan Administrator and/or Claims Administrator will be conclusive and
                 binding on all persons, except to the extent reviewable by a court with jurisdiction under ERISA after
                 giving effect to the time limits described in the "Claims Appeal Procedure• section of this booklet.

    COLLECTIVE BARGAINING AGREEMENT
                 If your employment is covered by a collective bargaining agreement that specifically allows for your
                 participation In the Plans described in this booklet, your participation is subject to the terms and conditions
                 of the collective bargaining agreement and the Plans.
                 Participants and beneficiaries may obtain a complete list of the Plan's sponsoring organizations by writing
                 to the Plan Administrator at the address shown under "Administration and Other Information - Plan
                 Administrator."
                 As a covered employee, you may obtain a copy of your respective collective bargaining agreement by
                 writing to the Plan Administrator at the address shown under "Administration and Other Information -
                 Plan Administrator." The Company may charge you a reasonable amount for the copy. As a covered
                 employee, provided you give reasonable advance notice of your visit, you may also examine a copy of
                 your respective collective bargaining agreement at Eaton at that same address or at the union office
                 during normal business hours.
                 Participants and beneficiaries may obtain a complete list of the Plan's sponsoring organizations by
                 writing lo the Plan Administrator at the address shown under "Administration and Other Information -
                 Plan Administrator.u




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           Social Security Administration
           Retirement, Survivors and Disability Insurance
           Notice of Award
                                                                                         Mid-America Progiam Service Center
                                                                                         601 East Twelfth Street
                                                                                         Kansas City, Missouri 64106~2817
                                                                                         Date: May 1, 2015
                                                                                         Claim Number:



           KATHY J BLAGG                                                                                              EXHIBIT
           385 HONEY HILL RD
           SEARCY, AR 72143
                                                                                                                         G
                                                                                                                                8
                                                                                                                                g
                                                                                                                                8
                                                                                                                                g
           You are entitled to monthly disability benefits beginning October 2014.                                              0




           The Date You Became Disabled
               We found that you became disabled under our rules on April 8, 2014.
               To qualify for disability benefits, you must be disabled for five full calendar
               months in a row. The first month you are entitled to benefits is October 2014.
           What We Will Pay And When
                    •       You will receive $9,096.80 around May 7, 2015.
                    •       This is the money you are due for October 2014 through April 2015.
                    •       Your next payment of $1,206.00, which is for May 2015, will be received
                            on or about the second Wednesday of June 2015.
                    •       After that you will receive $1,206.00 on or about the second Wednesday
                            of each month.
                    •       These and any future payments will go to the financial institution you
                            selected. Please let us know if you change your mailing address, so we
                            can send you letters directly.
                    •       Later in this letter, we will show you how we figured these amounts.
                    •       The day of the month you receive your payments depends on your date
                            of birth.




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     Your Benefits
      The followi~g chart shows your benefit amount(s) before any deductions or
      rounding. The amount you actually receive(s) may differ from your full
      benefit amount. When we figure how much to pay you, we must deduct
      certain amounts, such as Medicare premiums. We must also round down to
      the nearest dollar.
          Beginning                               Benefit
            Date                                  Amount                                      Reason
      October                2014                 $1,277.30                           Entitlement began
      December               2014                 $1,299.00                           Cost-of-living adjustment
      January                2015                 $1,311.40                           Credit for additional earnings
     Information About Medicare
      Your Medicare Part A (hospital insurance) and Part B (medical insurance)
      start April 2015.
      We will send you a Medicare card. You should take this card with you when
      you need medical care. If you need medical care before receiving the card and
      your coverage has already begun, use this letter as proof that you are covered
      by Medicare.
      IMPORTANT: A Medicare law requires some higher income persons to pay
      higher premiums. The law applies to premiums for Medicare Part B (medical
      insurance) and prescription drug coverage. The law generally affects
      individuals with incomes higher than $85,000 and couples with incomes higher
      than $170,000. We will contact the Internal Revenue Service to get
      information about your income. If we decide that you have to pay higher
      premiums, we will send a letter explaining our decision. The higher amount
      will be effective April 2015. For more information, please visit
      www.socialsecurity.gov on the Internet or call us toll-free at 1-800-772-1213
      (TTY l-800-325-0778).

     Medicare Prescription Drug Plan Enrollment
       Now that you are eligible for Medicare, you can enroll in a Medicare
       prescription drug plan (Part D).                           .
       To learn more about the Medicare prescription drttg plans and when you can
       enroll, visit www.medicare.gov or call 1-800-MEDICARE (1-800-633-4227; TTY
       1-877-486-2048). Medicare also can tell you about agencies in your area that
       can help you choose your prescription drug coverage.
       If you have limited income and resources, we encourage you to apply for the
       extra help that is available to assist with Medicare prescription drug costs.
       The extra help can pay the monthly premiums, annual deductibles and
       prescription co-payments. To learn more or apply, please visit
       www.socialsecurity.gov, call 1-800-772-1213 (TTY 1-800-325-0778) or visit the
       nearest Social Security office.
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              Information About Representative's Fees
                  Your representative told us that a fee will not be charged. If a fee is
                  charged, your representative must receive approval from the Social Security
                  Administration.
              Other Social Security Benefits
                  This benefit is the only benefit you can receive from us at this time. In the
                  future, if you think you might qualify for another benefit from us, you will
                  need to apply again.
              Your Responsibilities
                  We based our decision on information you gave us. If this information
                  changes, it could affect your benefits. For this reason, it is important that
                  you report changes to us right away.
                  We have enclosed a pamphlet, "What You Need To Know When You Get
                  Social Security Disability Benefits." It tells you what you must report and
                  how to report. Please be sure to read the parts of the pamphlet that tell you
                  what to do if you go to work or your health improves.
                  A vocational rehabilitation or employment services provider may contact you
                  to help you in going to work. The provider may be from a State agency or
                  wor.k .under contract with Social Security. .
                  If you go to work, we have special rules that let us continue your cash
                  payments and health care coverage. To learn more about how work and
                  earnings affect disability benefits, visit our website at
                  www.socialsecurity.gov/work/. You may also call or visit any Social Security
                  office to ask for the following publications:
                          •          Social Security - Workin_g While Disabled... How We Can Help (SSA
                                     Publication No. 05-10095).
                          •          Social Security - If You Are Blind-How We Can Help (SSA Publication
                                     No. 05-10052).
              Your Benefits May Be Taxed

                      You rn~y have to pay taxes on the benefits you get from us. Part of your
                      Social Security benefits may be taxed if:
                          •          you are single and your total income is more than $25,000 or
                          •          you are married and you and your spouse have total income of more
                                     than $32,000.                                                .
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        You can decide if you want to have federal taxes withheld from your
        benefits. If you want taxes withheld, you need to complete and return a Form
        W4V, Voluntary Withholding Request. You can get Form W-4V from the
        Internal Revenue Service by calling 1-800-829-3676. You can also get this form
        at www.socialsecurity.gov/planners/taxes.htm on our website. After you
        complete and sign the form, return it to your local Social Security office by
        mail or in person.
        You can find more information on paying taxes in the enclosed pamphlet,
        "What You Need To Know When You Get Social Security Disability Benefits".

      Other Information
        We are sending a copy of this notice to SARAH FELDT.
      Do You Disagree With The Decision?
        If you do not agree with this decision, you have the right to appeal. We will
        review your case and look at any new facts you have. A person who did not
        make the first decision will decide your case. We will review the parts of the
        decision that you think are wrong and correct any mistakes. We may also
        review the parts of our decision that you think are right. We will make a
        decision that may or may not be in your favor.
           •       You have 60 days to ask for an appeal.
           •       The 60 days start the day after you receive this letter. We assume you
                   received this letter 5 days after the date on it unless you show us that
                   you did not receive it within the 5--day period.
           •       You must have a good reason if you wait more than 60 days to ask for
                   an appeal.
           •       You can file an appeal with any Social Security office. You must ask
                   for an appeal in writing. Please use our "Request for Reconsideration"
                   form, SSA-561-U2. You may go to our website at
                   www.socialsecurity.gov/online/ to find the form. You can also call,
                   write, or visit us to request the form. If you need help to fill out the
                   form, we can help you by phone or in person.
       Things To Remember For The Future
        We are sending you this letter in both a standard print version and a large
        print version. You will receive them in separate envelopes.
       Suspect Social Security Fraud?
        Please visit http://oig.ssa.gov/r or call the Inspector General's Fraud Hotline
        at 1-800-269-0271 (TTY 1-866-501-2101).
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               If You Have Questions
                   We invite you to visit our website at www.socialsecurity.gov on the Internet
                   to find general information about Social Security. If you have any specific
                   questions, you may call us toll-free at 1-800-772-1213, or call your local Social
                   Security office at 1-855-686-1470. We can answer most questions over the
                   phone. If you are deaf or hard of hearing, you may call our TTY number,
                   1-800-325-0778. You can also write or visit any Social Security office. The
                   office that serves your area is located at:
                                                                                     SOCIAL SECURITY
                                                                                     701 AIRPORT LOOP
                                                                                     SEARCY AR 72143
                   If you do call or visit an office, please have this letter with you. It will help
                   us answer your questions. Also, if you r.lan to visit an office, you may call
                   ahead to make an appointment. This will help us serve you more quickly
                   when you arrive at the office.

                                                                                                               ~£.J~~
                                                                                                               Carolyn W. Colvin
                                                                                                               Acting Commissioner of
                                                                                                               Social Security
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  •
                                                      PAYMENT SUMMARY

        Your Payment Of $9,096.80
        Here is how we figured your
        first payment:
                Benefits due for October 2014
                through April 2015
                including any cost of living increase and
                considering work and earnings through 2014,
                less monthly rounding of benefits ....................... $ 9, 306. 60
                Amounts we subtracted because of:
                       •       premiums for medical insurance
                               through April 2015 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $      104.90

                       •       additional premium due
                               one month in advance ......................... .                                    104.90

                       Total subtractions                     ............................... .                    209.80

        This equals the amount of
        your first payment ....................................... $ 9, 096. 80
        Your Regular Monthly Payment
        Here is how we figured your
        regular monthly payment effective May 2015:
                You are entitled to a monthly benefit of                                     ................. $ 1,311.40
                Amounts we subtracted because of:
                       •       premiums for medical insurance                                                      104.90

                 This equals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   l , 206. SO

                       •       rounding (we must round down to
                               a whole dollar) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          . so
        This equals the amount of
        your regular monthly payment                                      ............................. $ l , 206. 00
